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                 13    Psychiatry, et al.
                 14
                                           UNITED STATES DISTRICT COURT
                 15
                                          CENTRAL DISTRICT OF CALIFORNIA
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                 17
                       JENNY LISETTE FLORES, et al.,        Case No. 2:85-cv-4544-DMG
                 18
                                     Plaintiffs,            Declaration of John S. Purcell in
                 19                                         support of brief of Amici Curiae the
                       v.                                   American Academy of Child and
                 20                                         Adolescent Psychiatry (“Amicus 1”),
                       WILLIAM P. BARR, Attorney General    the American Academy of Pediatrics
                 21    of the United States, et al.,        (“Amicus 2”), the American Academy
                                                            of Pediatrics, California (“Amicus 3”),
                 22                  Defendants.            the American Federation of Teachers
                                                            (“Amicus 4”), the American Medical
                 23                                         Association (“Amicus 5”), the
                                                            American Professional Society on the
                 24                                         Abuse of Children (“Amicus 6”), the
                                                            American Psychiatric Association
                 25                                         (“Amicus 7”), the American
                                                            Psychoanalytic Association (“Amicus
                 26                                         8”), the California American
                                                            Professional Society on the Abuse of
                 27                                         Children (“Amicus 9”), the Center for
                                                            Law and Social Policy (“Amicus 10”),
                 28                                         the Children’s Defense Fund
A RENT F OX LLP
ATTORNEYS AT LAW
  LOS A NGELES
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                   1                                                (“Amicus 11”), the Lutheran
                                                                    Immigration and Refugee Service
                   2                                                (“Amicus 12”), the National
                                                                    Association of Social Workers
                   3                                                (“Amicus 13”), the National
                                                                    Education Association (“Amicus 14”),
                   4                                                the Texas Pediatric Society (“Amicus
                                                                    15”), and the Women’s Refugee
                   5                                                Commission (“Amicus 16”), together
                                                                    with First Focus on Children
                   6                                                (“Amicus 17”), Save the Children
                                                                    Action Network, Inc. (“Amicus 18”),
                   7                                                Save the Children Federation, Inc.
                                                                    (“Amicus 19”), United States Fund for
                   8                                                UNICEF (“Amicus 20”), and ZERO
                                                                    TO THREE (“Amicus 21”), in
                   9                                                support of Plaintiffs
                 10
                 11
                             I, John S. Purcell, of full age, hereby declare under penalty of perjury that the
                 12
                       following statements are true and correct:
                 13
                             1.    I am a partner in the law firm Arent Fox LLP, and am counsel for
                 14
                       Amici Curiae the American Academy of Child and Adolescent Psychiatry, the
                 15
                       American Academy of Pediatrics, the American Academy of Pediatrics, California,
                 16
                       the American Federation of Teachers, the American Medical Association, the
                 17
                       American Professional Society on the Abuse of Children, the American Psychiatric
                 18
                       Association, the American Psychoanalytic Association, the California American
                 19
                       Professional Society on the Abuse of Children, the Center for Law and Social
                 20
                       Policy, the Children’s Defense Fund, First Focus on Children, the Lutheran
                 21
                       Immigration and Refugee Service, the National Association of Social Workers, the
                 22
                       National Education Association, the Texas Pediatric Society, Save the Children
                 23
                       Action Network, Inc., Save the Children Federation, Inc., and the Women’s
                 24
                       Refugee Commission, together with First Focus on Children, Inc., UNICEF USA,
                 25
                       and ZERO TO THREE (together, “Amici Children’s Organizations”).
                 26
                             2.    I am an attorney licensed to practice law in the courts of the State of
                 27
                       California and am a member in good standing of the State Bar of California.
                 28
A RENT F OX LLP
ATTORNEYS AT LAW
  LOS A NGELES
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                   1         3.     I submit this Declaration based upon my personal knowledge of the
                   2   facts set forth herein and in support of the brief of the Amici Children’s
                   3   Organizations in support of Plaintiffs.
                   4         4.     Attached hereto as Exhibit 1 are true and correct copies of the full
                   5   statements of interest of each of the Amici Children’s Organizations.
                   6         5.     Attached hereto as Exhibit 2 are true and correct copies of formal
                   7   comments submitted by certain of the Amici Children’s Organizations to the federal
                   8   government following its publication in the Federal Register of the Notice of
                   9   Proposed Rulemaking that preceded the final rule.
                 10          I declare under penalty of perjury under the laws of the State of California
                 11    that the foregoing is true and correct.
                 12                                                         /s/ John S. Purcell
                 13    Dated: August 30, 2019                              JOHN S. PURCELL

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A RENT F OX LLP
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                    EXHIBIT 1
               (Amici Statements of Interest)
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                       FULL STATEMENT OF INTEREST OF AMICI CURIAE

             Amicus curiae the American Academy of Child and Adolescent Psychiatry
       (AACAP) is a medical membership association established by child and adolescent
       psychiatrists in 1953. Now over 9,500+ members strong, AACAP is the leading
       national medical association dedicated to treating and improving the quality of life for
       the estimated 7-15 million American youth under 18 years of age who are affected by
       emotional, behavioral, developmental and mental disorders. AACAP’s members
       actively research, evaluate, diagnose, and treat psychiatric disorders, and pride
       themselves on giving direction to and responding quickly to new developments in
       addressing the health care needs of children and their families.
             Amicus curiae the American Academy of Pediatrics (AAP) represents 67,000
       primary care pediatricians, pediatric medical subspecialists, and surgical specialists
       who are committed to the attainment of optimal physical, mental, and social health
       and well-being for all infants, children, adolescents, and young adults. AAP believes
       that the future prosperity and well-being of the United States depends on the health
       and vitality of all of its children, without exception. Pediatricians know that even short
       periods of detention can have long-lasting consequences for children, including
       psychological trauma and mental health risks. There is no evidence that any amount
       of time in detention is safe for a child. All children—no matter where they or their
       parents were born—should have the right to access health care, remain united with
       their families, and pursue a high-quality education.
             Amicus curiae the American Academy of Pediatrics, California (AAP-CA), is
       comprised of all California AAP chapters statewide, totaling over 5,000 pediatricians.
       Together, AAP-CA represents primary care and subspecialty pediatricians across
       California. The mission of the AAP-CA is to attain optimal physical, mental, and
       social health and well-being for all infants, children, adolescents, and young adults in
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       California, regardless of immigration status. When the pain and suffering of any child
       is within our power as a community and as a nation to prevent and to mitigate, we
       must do so. Detention is a sanitized word for the circumstances in which we know
       many of these children are being held. We join with the AAP in asserting that there is
       no evidence that any amount of time in detention is safe for a child, and that all
       children—no matter where they or their parents were born—should have the right to
       access health care, remain united with their families, and pursue a high-quality
       education.
             Amicus curiae the American Federation of Teachers (AFT), AFL-CIO, was
       founded in 1916 and today represents approximately 1.7 million members. The AFT
       has a longstanding history of supporting and advocating for the civil rights of its
       members and the communities they serve. AFT members are teachers and school
       support staff, nurses and healthcare professionals, and public sector employees who
       dedicate their lives to providing services to children and their families. AFT members
       are gravely concerned about the intensely traumatic and disruptive direct effects of
       long-term detention on immigrant children and their families, as proposed in the final
       rule, as well as the indirect effects of such detention to those connected in community
       with them.
             Amicus curiae the American Medical Association (AMA) is the largest
       professional association of physicians, residents and medical students in the United
       States. Additionally, through state and specialty medical societies and other physician
       groups seated in its House of Delegates, substantially all U.S. physicians, residents
       and medical students are represented in the AMA’s policy making process. AMA
       members practice in every state and in every medical specialty. The AMA was
       founded in 1847 to promote the art and science of medicine and the betterment of
       public health, and these remain its core purposes. Families seeking refuge in the
       United States endure emotional and physical stress, which is only exacerbated when


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       they are separated from one another or held in family detention facilities during
       immigration proceedings. Childhood trauma and adverse childhood experiences
       created by inhumane treatment often create negative health impacts that can last a
       lifetime. Department of Homeland Security (DHS) family detention practices can
       result in unacceptable treatment of children and can violate the FSA guidelines.
       Because of these concerns, the AMA urges the Court to invalidate this final rule and
       instead give priority to supporting families and protecting the health and well-being
       of the children within those families.
             Amicus curiae the American Professional Society on the Abuse of Children
       (APSAC) is the leading multi-disciplinary national organization for professionals
       serving children and families affected by child maltreatment, which includes both
       abuse and neglect. APSAC achieves its mission through sponsoring peer-reviewed
       publications, offering expert training and educational activities, policy leadership and
       collaboration, and consultation emphasizing theoretically sound, evidence-based
       principles. For 30 years, APSAC has played a central role in developing guidelines
       that address child maltreatment. APSAC is qualified to inform the DHS and the
       Department of Health and Human Services (HHS) about the damage maltreatment
       can inflict on children's brain development and cognitive ability. Of note, the final
       rule would cause harm not only to children held in detention, but also to children of
       Mexican, Central American, and other ethnic origins living in the United States,
       whether citizens or not. APSAC submits this brief to assist the Court in understanding
       the impact of detention, especially indefinite detention, on children's physical,
       emotional, and mental development. These facts provide important background
       information useful to a complete understanding of the potential impact of the rule
       currently promulgated by DHS and HHS.
             Amicus curiae the American Psychiatric Association (APA), with more than
       38,700 members, is the world’s largest organization of physicians who specialize in


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       psychiatry. Through research, education, and advocacy, APA members work to
       ensure effective prevention, diagnosis, and accessible treatment of mental health
       and/or substance-use disorders. The final rule seeks to amend the FSA to allow DHS
       to keep “families who must or should be detained together at appropriately licensed
       family residential centers (FRCs) for the time needed to complete immigration
       proceedings.” This vague guidance about how long families may be detained is
       concerning and has the potential to impose long-lasting trauma on detained children
       and their parents. In addition, prolongation of these families’ detention will compound
       the already significant mental health consequences they face. APA recommends the
       maximum period of detention for children and their parents not go beyond the current
       limit of 20 days and that every effort be made to minimize the number of days spent
       by families in detention to decrease the negative consequences of detention for this
       vulnerable population. APA is also are gravely concerned that weakening facility
       requirements and oversight will lead to higher incidents of physical and sexual
       violence.
             Amicus curiae the American Psychoanalytic Association (APSA) is the oldest
       and largest professional organization for psychoanalysts in North America,
       representing 3,000 members, 32 approved training institutes, and 38 affiliate societies
       throughout the United States. APSA has determined that the administration’s use of
       cruel language, policies, and abuse is a form of psychological warfare. The rhetoric
       and policies of DHS—child separations, workplace raids and arrests, inadequate
       detention centers, and changing rules for seeking asylum—create psychological
       trauma and we know from both empirical evidence, as well as our clinical experience
       that this type of trauma and toxic stress causes long-lasting serious mental health
       issues such as depression, anxiety, PTSD, cognitive impairment, and even risk of
       suicide.



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             Amicus curiae the California American Professional Society on the Abuse of
       Children (CAPSAC), the state of California chapter of APSAC, provides additional
       support to California professionals working in the field of child abuse through
       training, consultation, advocacy and networking. CAPSAC plays a central role in
       developing guidelines addressing child maltreatment, qualifying it to inform DHS
       and HHS about the damage maltreatment can inflict on children's brain development
       and cognitive ability. CAPSAC's expertise focuses on preventing child maltreatment,
       regardless of citizenship status. CAPSAC submits this brief to assist the Court in
       understanding the impact of detention, especially indefinite detention, on children's
       physical, emotional, and mental development. These facts provide important
       background information vital to understanding the potential impact of the rule
       currently promulgated by DHS and HHS.
             Amicus curiae the Center for Law and Social Policy (CLASP) is a national,
       nonpartisan, anti-poverty nonprofit advancing policy solutions for low-income
       people. CLASP develops practical yet visionary strategies for reducing poverty,
       promoting economic opportunity, and addressing barriers faced by people of color.
       CLASP has expertise in early care and education, early childhood development, child
       welfare, and immigration policy. CLASP strongly opposes this rule, which disregards
       child welfare practices and established standards for ensuring the best interests of
       children. If implemented, it would compromise the immediate safety and well-being
       of children and harm their long-term development. We urge the Court to consider the
       research on child development presented in this brief as evidence of the immense
       harm to children that would result from implementation of this rule.
             Amicus curiae the Children’s Defense Fund (CDF) is a 501(c)(3) non-profit
       child advocacy organization that has worked relentlessly for more than 40 years to
       ensure a level playing field for all children. CDF champions policies and programs
       that lift children out of poverty; protect them from abuse and neglect; and ensure their


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       access to health care, quality education and a moral and spiritual foundation. As
       written, the final rule would essentially permit indefinite detention of children, limit
       the family members to whom a detained child could be released, and roll back the
       minimal standards currently in place for children’s access to health, education, and
       special needs accommodations. Furthermore, the final rule would allow detention
       centers to “self-certify” as child care facilities, a proposal that dismisses the concepts
       of oversight, accountability, and child care standards, and in the end represents a
       serious miscarriage of justice. Our main points of concern are the well-being and
       safety of immigrant children and families, the restrictions placed on children being
       released from detention centers, the potential for living conditions to considerably
       worsen in detention centers, and the unnecessarily high cost of the final rule. CDF
       strongly urges the Court to prevent the final rule from moving forward.
             Amicus curiae the Lutheran Immigration and Refugee Service (LIRS), for
       decades, has been committed to providing direct services and advocating on behalf of
       unaccompanied migrant children and accompanied children and their families
       throughout the United States. LIRS oversees programs that provide long and short-
       term foster care, family reunification services, and post release services; LIRS
       services are trauma informed and designed to help children recover from the multiple
       hardships and traumas they experience from the time they spent in their home
       countries, throughout their journey to the United States and once they enter the United
       States. LIRS believes that our nation’s immigration laws and system should always
       ensure that children’s rights are placed front and center. Alternatively, we strongly
       believe that detention is not in the best interest of the child. In this regard, we support
       retaining the FSA, because it offers the best set of child protection standards. We
       would like to see these standards strengthened not weakened.
             Amicus curiae the National Association of Social Workers (NASW) is the
       largest association of professional social workers in the United States, with nearly


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       120,000 members in 55 chapters, who provide vitally-needed services in a broad
       range of settings. The California Chapter of NASW has over 9,000 members. The
       Association also works to advance policies at all levels of government, including
       immigration and child welfare policies, that align with the profession’s values and
       code of ethics. Among other things, NASW develops policy statements on issues of
       importance to society and the social work profession, including child welfare and
       immigration issues. NASW actively supports efforts to ensure that our most
       vulnerable children are served by systems designed to protect them from abuse and
       ensure their well-being. This includes efforts to ensure that children from immigrant
       families, regardless of citizenship status, are provided with the same societal
       protections as children from non-immigrant families. Advancing these rights is a vital
       priority for the social work profession in the twenty-first century.
             Amicus curiae National Education Association (NEA) is a nationwide
       employee organization representing over three million members, the vast majority of
       whom serve as educators and education support professionals in our nation’s public
       schools, colleges, and universities. NEA has a strong and longstanding commitment
       to ensuring that every child has access to a high-quality public education, regardless
       of immigration status. NEA is equally committed to the overall well-being of children,
       psychologically and developmentally. NEA members work directly with children in
       our schools every day, including immigrant children and children subject to trauma.
       NEA opposes the detention of children under any circumstances because it causes
       severe psychological harm and impairs children’s ability to learn and grow.
             Amicus curiae the Texas Pediatric Society (TPS), the Texas Chapter of the
       AAP, represents over 4,200 primary care pediatricians, pediatric medical
       subspecialists, surgical specialists, and medical students who believe that the most
       important resource of the State of Texas is its children, and pledges its efforts to
       promote their health and welfare. The goal of the TPS is that all children in the State


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       attain their full potential for physical, emotional, and social health. TPS agrees with
       the AAP that the future prosperity and well-being of the United States depends on the
       health and vitality of all of its children, without exception. TPS has consistently and
       firmly stated that children should not be subjected to detention and every child should
       receive developmentally appropriate daily care, medical care, and mental health care
       which is compassionate and responsive to their needs.
              Amicus curiae First Focus on Children (First Focus) is a bipartisan advocacy
       organization dedicated to making children and families the priority in federal policy
       and budget decisions. One of First Focus’s priority issues is to ensure that federal
       policies, including immigration policies, promote the health, safety, and well-being
       of children in immigrant families. First Focus is deeply opposed to any changes to
       FSA that would undermine protections for children and allow for their prolonged
       detention in family detention facilities. Additionally, First Focus opposes any
       proposals that would allow immigrant children to be detained in facilities licensed by
       the DHS which has proven time and time again to be woefully inadequate and
       dangerous for children. Any changes to current standards should focus on the best
       interest of the child and build on the FSA’s protections. Immigration enforcement and
       policy decisions must consider the children affected by these decisions. This rule does
       not.
              Amicus curiae Save the Children Action Network (SCAN), founded in 2014 as
       the political advocacy arm of Save the Children, is building bipartisan support to make
       sure every child has a strong start in life. SCAN is doing this by advocating for high-
       quality early learning for children in the United States, the safety of children arriving
       at the southern U.S. border and the protection of children living in conflict zones
       around the world. The final changes to the FSA would allow for long-term detention
       of families, pending immigration proceedings, a process that often takes years to
       complete. The final changes are cast as being in the best interest of the children


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       involved, but that is far from the truth – every minute a child is held in detention can
       cause irreparable harm. The final rule would also allow the administration to ignore
       basic standards of care, like access to hygiene and other basic needs. Seeking asylum
       is not a crime and the global evidence shows that detention has significant negative
       effects on a child’s development and social and emotional well-being. This rule is
       inhumane and a grave violation of children’s rights.
             Amicus curiae Save the Children Federation, Inc., in the United States and
       around the world, gives children a healthy start in life, the opportunity to learn and
       protection from harm. Save the Children specializes in childhood health and nutrition,
       a culture of peace, governance, alternative care, and protection during migration, but
       one of our cross-cutting thematic priorities relates to the right to protection and the
       eradication of harmful practices towards children and adolescents. As noted above,
       the final changes to the FSA would allow for long-term detention of families, pending
       immigration proceedings, a process that often takes years to complete. The final
       changes are cast as being in the best interest of the children involved, but that is far
       from the truth – every minute a child is held in detention can cause irreparable harm.
       The final rule would also allow the administration to ignore basic standards of care,
       like access to hygiene and other basic needs. Seeking asylum is not a crime and the
       global evidence shows that detention has significant negative effects on a child’s
       development and social and emotional well-being. This rule is inhumane and a grave
       violation of children’s rights.
             Amicus curiae United States Fund for UNICEF (UNICEF USA) supports the
       work of the United Nations Children’s Fund (UNICEF) to put children first through
       fundraising, advocacy and education in the United States. UNICEF has helped save
       more children’s lives than any other humanitarian organization by providing health
       care and immunizations, safe water and sanitation, nutrition, education, emergency
       relief and more. UNICEF USA is working toward the day when no children die from


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       preventable causes, and every child has a safe and healthy childhood. Our legal
       system, and our national conscience, require us to consider the best interests of the
       child in any legal or policy decision. This proposed rule, however, does not consider
       the harmful impacts of detention for any length of time on children. Experts have
       determined that one thing is absolutely clear: like separating children from parents,
       detention of children is a highly destabilizing, traumatic experience that has long term
       consequences on child well-being, safety, and development. There are well-known
       and effective programs to protect families and children, allow them to exercise their
       rights under United States and inter-national law, and ensure that they abide by U.S.
       legal processes without detaining them. UNICEF USA urges the Federal Government
       to withdraw this final rule.
             Amicus curiae the Women’s Refugee Commission (WRC) is a non-
       governmental, non-profit organization that works to identify gaps, research solutions,
       and advocate for change to improve the lives of crisis-affected women and children.
       The WRC is a leading expert on the needs of refugee women and children, and the
       policies that can protect and empower them. For over two decades, the Women's
       Refugee Commission has monitored immigration detention facilities and migrant
       children’s facilities operated under what is now the jurisdiction of Immigration and
       Customs Enforcement (ICE), Customs and Border Protection (CBP), and the Office
       of Refugee Resettlement (ORR), and interviewed facility staff, local service
       providers, asylum seekers, and migrant children about the policies, practices, and
       conditions of custody that relate to the ability to access to protection. WRC has been
       monitoring border screening policies, including family separation for over four years.
       The final rule has inherent flaws and is legally flawed in a myriad of ways: it violates
       international law, as well as United States constitutional and statutory law. As WRC
       has demonstrated for years, there is no humane way to detain families, and whenever
       families or children are in the care and custody of the Federal Government, safeguards


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       and basic minimum standards must not only be in place but met. The final rule
       undermines the intent behind the provisions of the FSA in that they are
       unconstitutionally vague, ultra vires, overbroad, and generally lack enforcement and
       oversight of the Federal Government’s actions.
             Amicus curiae ZERO TO THREE (ZTT) is a national nonprofit, nonpartisan
       organization founded more than 40 years ago to promote the well-being of infants and
       toddlers by translating the science of early childhood development for policymakers,
       practitioners, and parents. ZTT is a national leader on infant and early childhood
       mental health and early childhood development, and works to ensure that babies and
       toddlers benefit from the family and community connections critical to their well-
       being and healthy development. The final rule would wipe away these protections,
       allowing children in the company of their parents to be incarcerated indefinitely in
       detention facilities known as FRCs. The final rule also ignores the central FSA
       principle, reiterated many times, favoring a "General Policy Toward Release" in the
       case of migrant children being held in detention—including those held with their
       parents—and therefore the need for ending that detention as soon as possible.




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                     EXHIBIT 2
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AAP Headquarters
345 Park Blvd
                                 November 5, 2018
Itasca, IL 60143
Phone: 630/626-6000
Fax: 847/434-8000                Debbie Seguin
E-mail: kidsdocs@aap.org
www.aap.org                      Assistant Director
Reply to                         Office of Policy
AAP Washington Office
601 13th St NW, Suite 400N       U.S. Immigration and Customs Enforcement
Washington, DC 20005             Department of Homeland Security
Phone: 202/347-8600
E-mail: kids1st@aap.org          500 12th Street SW
                                 Washington, DC 20536
Executive Committee

President
Colleen A. Kraft, MD, FAAP       Re: DHS Docket No. ICEB-2018-0002, RIN 0970-AC42 1653-AA75, Proposed
President-Elect                  Rulemaking: Apprehension, Processing, Care, and Custody of Alien Minors and
Kyle Yasuda, MD, FAAP
Immediate Past President
                                 Unaccompanied Alien Children
Fernando Stein, MD, FAAP

CEO/Executive Vice               Dear Ms. Seguin:
President (Interim)
Mark Del Monte, JD
                                 The American Academy of Pediatrics (AAP), a non-profit professional
Board of Directors
District I
                                 organization of 67,000 primary care pediatricians, pediatric medical sub-
Wendy S. Davis, MD, FAAP         specialists, and pediatric surgical specialists dedicated to the health, safety, and
Burlington, VT
                                 well-being of infants, children, adolescents, and young adults, appreciates this
District II
Warren M. Seigel, MD, FAAP       opportunity to offer comments on                                                (DHS)
Brooklyn, NY
                                 Notice of Proposed Rulemaking: Apprehension, Processing, Care, and Custody of
District III
David I. Bromberg, MD, FAAP      Alien Minors and Unaccompanied Alien Children (DHS Docket No. ICEB-2018-
Frederick, MD
                                 0002).
District IV
Jane Meschan Foy, MD, FAAP
Winston-Salem, NC
                                 The Proposed Rule is inconsistent with the terms of the Flores Settlement
District V
Richard H. Tuck, MD, FAAP        Agreement (FSA) and, if adopted as proposed, would severely undermine the
Zanesville, OH
                                 current protections for children under the FSA. Should federal agencies carry out
District VI
Pam K. Shaw, MD, FAAP            the rule as proposed, the ensuing loss of protections for immigrant children would
Kansas City, KS
                                 be inconsistent with federal law including the Homeland Security Act of 2002
District VII
Anthony D. Johnson, MD, FAAP     (HSA) and the William Wilberforce Trafficking Victims Protection Reauthorization
Little Rock, AR
                                 Act (TVPRA). The Proposed Rule would harm immigrant children and families by
District VIII
Martha C. Middlemist, MD, FAAP   continuing to expose them to conditions and settings that are retraumatizing and
Centennial, CO
                                 unsafe, by effectively eliminating any credible licensure process for family
District IX
Stuart A. Cohen, MD, FAAP        detention centers, and by stripping unaccompanied children of that designation and
San Diego, CA                    protections required by federal law that are unique to them. For these reasons and
District X
Lisa A. Cosgrove, MD, FAAP
                                 others detailed below, DHS should rescind the Proposed Rule and instead prioritize
Merritt Island, FL               the best interests of children and work to advance policies that are protective of
                                 immigrant families.
                                                                 18
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Children in the custody of their parents should never be detained. From the moment children are in the
custody of the U.S., they deserve health care that meets guideline-based standards, treatment that
mitigates harm or traumatization, and services that support their health and well-being. All immigrant
children and families seeking safe haven in the U.S. should be treated with dignity and respect. In every
decision about children, government decision-makers should prioritize the best interests of the child.1

The FSA sets strict national standards for the detention, treatment, and release of all minors detained in
the legal custody of the federal government. It requires that children be held in the least restrictive
                                                   children be released without unnecessary delay to a
parent, legal guardian, adult relative (brother, sister, aunt, uncle, or grandparent), designate of the parent,
or others.2 3 An August 2015 ruling by a California U.S. District Court in a case brought against DHS,
Flores v Johnson, found that family detention centers are in violation of the Flores Settlement
Agreement.4 The court did not exclude children in family units from the FSA requirement that children
be held in the least restrictive environment. The FSA requires that the regulations adopted to implement
                                   hall not be inconsistent
does not meet this standard.

AAP has been outspoken about the harms of family detention on children since 2017 because of the
negative implications that detention has on child health. Visits to family detention centers by
pediatricians reveal discrepancies between the standards outlined by Immigration and Customs
Enforcement (ICE) and the actual services provided, including inadequate or inappropriate
immunizations, delayed medical care, inadequate education services, and limited mental health
services.5 The Proposed Rule would result in the long-term, possibly indefinite, detention of children
and is another example of a policy that seeks to inflict harm on children simply because they are
immigrants.

Alternative Federal Licensing of Family Residential Centers

In the Proposed Rule, DHS proposes to create a federal self-licensing scheme for family residential
centers (FRCs), eliminating the current state licensure requirement for FRCs. This proposed change is
inconsistent with the FSA. Paragraph 40 of the FSA requires that
minors in its custody                                     for the care of dependent minors
notwithstanding publishing of final regulation implementing the FSA. Detained children with their

1
  Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of Immigrant
Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
2
  The Flores Settlement Agreement, case no. CV 85-4544-RJK(Px), 1996
3
                                                                                                       Flores Settlement
Agreement & DHS Custody. Baltimore, MD: Lutheran Immigration and Refugee Service; 2014.
4
                                                                               Family Detention & the Flores Settlement
Agreement. Baltimore, MD: Lutheran Immigration and Refugee Service; 2015.
5
  Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of Immigrant
Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.


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parents in FRCs actually are                      government, as it is the g
parents) that makes the rules, enforces discipline, provides food and water, and determines when
medical attention can be sought and what the medical care will be. 6

Additionally, the Proposed Rule does not provide a way to ensure the residential standards set by ICE
would be a safe replacement for state licensing requirements. The self-licensure envisioned in the
Proposed Rule weakens, not strengthens, oversight of FRCs. As such, the Proposed Rule does not
adhere to the strict guidelines that the FSA requires.

The FSA specifically requires that federal authorities must transfer children in their custody to a
                         -secure facility that is licensed by the states to provide residential, group, or

consistent with ICE standards for FRCs, that would govern the operation of family detention. The
Proposed Rule
that the state licensing requirement [in the Flores agreement] exists t




State licensing standards for the care of children in out-of-home settings exist for the purposes of
providing a baseline of protection for the health and safety of children in light of their particular needs
and vulnerability.7 Such licensing regulations can safeguard the health and safety of children by
mitigating risks of injury or death, reducing the spread of communicable diseases and setting up
conditions that promote positive child development. Such standards are put into place by agencies
whose missions typically include safeguarding the wellbeing of children (such as a child welfare or child
care agency). Additionally, those standards often have procedures in place to investigate claims of child
abuse and neglect by state agencies.


established                                     s the unique vulnerability of children and the unique
considerations their status as children necessitates in licensing a detention facility. Regulations for the
care of children can differ by age as well as               velopmental stage. A lack of attention to the




6
 In this connection, we take the opportunity to make the observation that currently, even under the FSA, Accompanied
Children in detention in FRCs are not afforded the basic protections that State licensing affords to Unaccompanied Children

are routinely housed in rooms with bunk beds accommodating several families so that a child sleeps right under, over, or next
to unrelated adults (which, under the FSA, would not be allowed in a licensed program).
7
  Jack P. Shonkoff and Deborah A. Phillips, eds., From Neurons to Neighborhoods: The Science of Early Childhood
Development, National Research Council and Institute of Medicine, 2000.


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unique needs of the youngest children is especially harmful, as the health and well-being of infants and
toddlers is particularly dependent on their caregivers and environments.8

Independent, credible, and accountable monitoring of federal facilities such as FRCs to ensure
compliance with evidence-based, licensing standards is critically important. For monitoring to be
effective, the credibility and impartiality of the monitor is essential. In the Proposed Rule, DHS proposes
to ensure compliance with standards through the use of a third-party auditor. The credibility and
impartiality of a monitor whose client is the same entity being monitored raises significant concerns
regarding credibility and impartiality. In fact, the third-party auditor
required to actually certify that an FRC is in compliance with the applicable ICE-established residential
standards.

Current standards for ICE family detention centers fail to address core components of child well-being
and protection.                                                                           -emotional,
                                                                           9
health, mental health and physical developmental needs at varying ages. Studies of detained immigrants
in the U.S. describe prisonlike conditions; inconsistent access to quality medical, dental, or mental
health care; and lack of appropriate developmental or educational opportunities. Parents
interviewed for these reports described regressive behavioral changes in their children, including
decreased eating, sleep disturbances, clinginess, withdrawal, self-injurious behavior, and aggression.
Parents exhibited depression, anxiety, loss of locus of control, and a sense of powerlessness and
hopelessness. Parents often faced difficulty parenting their children and subsequently experienced
strained parent child relationships.                                        and desperation were
intensified by detention center practices that created communication barriers with the outside world
(e.g., expensive telephone service and lack of Internet services).10 Furthermore, various assessments
including a 2016 assessment made by the DHS Advisory Committee on Family Residential Centers
found that appropriate standards are simply impossible within the context of family detention and that
detention or the separation of families for purposes of immigration enforcement or management are
never in the best interest of children.11

The rule notes that family detention centers are not aligned with existing state licensing systems. In fact,
the myriad licensing challenges that FRCs have faced demonstrate the importance of this requirement of
the FSA and the crucial role that licensing and monitoring can play in guarding against and identifying


8

Applications, ed. Jude Cassidy and Phillip R. Shaver, 1999, 265-286; Anne Case and Ch
                                              http://content.healthaffairs.org/content/21/2/164.full.
9
  U.S. Department of Homeland Security, Family Residential Standards, U.S. Immigration and Customs Enforcement, 2018,
https://www.ice.gov/detention-standards/family-residential.
10
   Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
11
   Immigration and Customs Enforcement, Report of the DHS Advisory Committee on Family Residential Centers, 2016,
https://www.ice.gov/sites/default/files/documents/Report/2016/ACFRC-sc-16093.pdf.


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                                                                           American Academy of Pediatrics: Page 5


inappropriate conditions for children. For example, the T. Don Hutto Center in Texas closed after three
                                                                                   12
                                                                                      In January 2016, the
Pennsylvania Department of Human Services revoked the child care license of the Berks County
Residential Center because DHS was found to be using its license inappropriately.13 Yet, the facility
continued to operate for a year with a suspended license raising serious questions about provisions of the
Proposed Rule that would grant more, not less, oversight and monitoring of FRCs to DHS. In late 2015,

would allow the Dilley detention center to detain children while exempt from statewide health and
safety standards. In June 2016, a judge ruled that such an exemption could put children at risk of abuse,
particularly due to shared sleeping spaces with non-related adults. In December 2016, that decision was
upheld by a federal judge.14

In its 2016 testimony on the Karnes County Residential Center (GEO Group)
under the Texas Department of Family and Protective Services as a General Residential Operation and
emergency Care Service Facility, the Texas Pediatric Society (TPS) found,             -like settings [such as
those present at Karnes] do not aid in the healthy upbringing and development of children or enable their
families to provide [the] best quality of care                   TPS testified that granting state licensure
to a facility like Karnes would do the opposite of what state statute requires of such facilities it would
                                                       raction. Additionally, TPS found a lack of trauma-
informed, mental health resources in the [rural] Karnes community and the intrinsic nature of these
facilities as detention centers are not conducive to the emotional and developmental needs of highly
traumatized children.15




12
   American Civil Liberties Union, ACLU Challenges Illegal Detention of Immigrant Children Held in Prison-Like
Conditions, 2007, https://www.aclu.org/news/aclu-challenges-illegal-detention-immigrant-children-held-
prisonconditions?redirect=cpredirect/28865.
13
   Michael Matza, PA Fights to Shut Down Immigrant Family Detention Center in Berks, The Inquirer, 2017,
http://www.philly.com/philly/news/pennsylvania/Pa-renews-effort-to-revoke-the-license-of-immigrant-familydetention-
center---.html; Renée Feltz, Pennsylvania Doubles Down on Revoking Child-Care License for Controversial Family
Detention Center, Rewire, 2017, https://rewire.news/article/2017/05/05/pennsylvania-doubles-revoking-child-care-
licensecontroversial-family-detention-center/.
14
   Alexa Garcia-Ditta, Judge Halts Child Care License for Dilley Detention Center, Texas Observer, 2016,
https://www.texasobserver.org/immigrant-family-detention-license-hold/; Grassroots Leadership v. Texas Department of
Family and Protective Services, Final Judgement, D-1-GN-15-004336, District Court of Travis County 2016,
https://grassrootsleadership.org/sites/default/files/uploads/gli_v._dfps_final_judgment.pdf; Representative Lucille Roybal-
Allard, Representative Pramila Jayapal, In ICE Detention Pregnant Women Face Stress, Trauma, and Inadequate Care, The
Hill, 2018, https://thehill.com/blogs/congress-blog/homeland-security/384602-in-ice-detention-pregnant-women-face-stress-
trauma-and.
15
   Joyce Elizabeth Mauk, MD, Testimony on Public Hearing for Karnes County Residential Center, April 13, 2016,
https://www.aap.org/en-us/advocacy-and-policy/state-
advocacy/Documents/Testimony%20on%20GEO%20Detention%20Facility%20Karnes.pdf


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Long-Term, Potentially Indefinite, Detention of Children

Under the alternate licensing scheme in the Proposed Rule, DHS would be granted a way to get around
the        requirement that children not be kept in secure, unlicensed facilities for more than 20 days.16
Whereas the average length of stay in an FRC in FY 2014 was 47.4 days, after the FSA protections--
including the 20-day limitation on detention--were enforced for accompanied children in 2015, the
average length of stay had fallen to only 14.2 days (in FY 2017). While DHS argues that they are

FRCs after this rule is effective or for how much longer individuals may be detained because there are

without the Flores settlement in place.17

In fact, the stated rationale in the Proposed Rule for the self-licensure of FRCs for the housing and care
of children on a long-term basis is to avoid the requirement of releasing children within 20 days from an
FRC to a parent or relative or (if no parent or relative is available) to a state child welfare agency-
licensed program.                                                                               based on the
proposed alternative licensure scheme, DHS explains, children could then be kept in the FRCs beyond
20 days (i.e., indefinitely pending resolution of all of the immigration proceedings relating to the child
and his or her parents). As a result, and as explicitly intended by DHS in promulgating these proposed
rules, DHS would detain children with their families for the entirety of their immigration proceedings--
in effect, indefinitely. The core principle and requirement of the FSA is that migrant children taken into

                                                                              18
minors

We would note that the Proposed Rule mirrors the g                                            Flores court
to modify the FSA to permit detention of children for up to the entire pendency of their and their
                                  19
                                     We note that these proceedings typically take many months and can
           20
take years. The court rejected that request. In July 2017, Judge Dolly Gee said that the government,
                                                tion in unlicensed facilities, which would constitute a
                                                              21
                                                                 The government now seeks, through this
Proposed Rule which it contends materially implements the FSA, to accomplish a material modification



16
   Jenny Lisette Flores, et al. v. Loretta E. Lynch, CV 85-04544, U.S. Dist. Court, Central Dist. Cali., Aug. 21, 2015,
https://www.aila.org/File/Related/14111359p.pdf.
17
   No
                                       -19052.
18
   FSA, ¶ 12A.
19
   Jenny L. Flores et al. v. Jefferson B. Sessions, III, et al., Case No. CV 85-4544-DMG, U.S. Dist. Ct. Central Dist. Cal., July
9, 2018.
20
   Id.
21
   Id. at 4.


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                                                                          American Academy of Pediatrics: Page 7


of the FSA that the government sought from the court and the court rejected. The long-term detention of
children in FRCs is antithetical to the FSA and runs counter to the best interest of children.

Child Health Implications of Family Detention

                                         Detention of Immigrant Children, DHS detention facilities are
not appropriate places for children. Immigrant children seeking safe haven in the U.S. should never be
placed in detention facilities.22 The American Medical Association has adopted a policy opposing family
immigration detention given the negative health consequences that detention has on both children and
their parents.23
family detention indefinitely holding children and their parents, or children and their other primary

resolved can be expected to result in considerable adverse harm to the detained children and other
family members, including physical and mental health, that may follow them through their entire lives,
                                                                                 24



There is no evidence that any amount of time in detention is safe for children.25 In fact, even short
periods of detention can cause psychological trauma and long-term mental health risks for children.26
Studies of detained immigrants have shown that children and parents may suffer negative physical and
emotional symptoms from detention, including anxiety, depression and posttraumatic stress disorder.27

difficulty is complicated by parental mental health problems.28 Parents in detention centers have
described regressive behavioral changes in their children, including decreased eating, sleep disturbances,
clinginess, withdrawal, self-injurious behavior, and aggression.29

Visits to family detention centers by pediatric and mental health advocates have revealed discrepancies
between the standards outlined by ICE and the actual services provided, including inadequate or
inappropriate immunizations, delayed medical care, inadequate education services, and limited mental




22
  Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
23

2017, https://www.ama-assn.org/ama-adopts-new-policies-improve-health-immigrants-and-refugees.
24
   American College of Physi
https://www.acponline.org/acp_policy/policies/family_detention_position_statement_2018.pdf.
25
   Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
26
   Id.
27
   Id.
28
   Id.
29
   Id.


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                                                                       American Academy of Pediatrics: Page 8


health services.30 Other reports describe prison-like conditions; inconsistent access to quality medical,
dental, or mental health care;31 and lack of appropriate developmental or educational opportunities.32

In July, AAP, joined by thirteen other national medical and mental health organizations wrote to
members of Congress voicing deep concerns about the treatment that immigrant children and their
parents face in federal custody.33 The letter from these organizations notes that two physicians within
                                                                                             -run facilities
                                                                              34
                                                                                 The DHS physicians stated
                                              ever occur in a civilized society, especially if there are less
                                                                                      35
                                                                                         Currently, there is
no mechanism for health professionals to regularly monitor the conditions in DHS facilities and their
appropriateness for children.

After almost a year of investigation, the DHS Advisory Committee on Family Residential Centers
concluded that detention is generally neither appropriate nor necessary for families and that detention
or the separation of families for purposes of immigration enforcement or management are never in the
best interest of children.36 We must remember that immigrant children are still children. Protections for
children in law or by the courts exist because children are uniquely vulnerable and are at high risk for
trauma, trafficking, and violence. Proposals like this Proposed Rule that are inconsistent with the FSA
and federal child trafficking laws in order to allow for the longer-term detention of children with or
without their parents or to strip children of protections designed for their safety and well-being and put
their health and well-being at risk.

Use of Term

The Proposed Rule provides for broad exemptions to existing child protections by expansively defining
                                    37
                                       These broad definitions provide massive leeway to DHS and
HHS to selectively ignore the important children's rights provisions of the regulation, essentially leaving
immigration operations impacting migrant children unregulated.

30
     Id.
31

2017, https://www.ama-assn.org/ama-adopts-new-policies-improve-health-immigrants-and-refugees.
32
   Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
33
   Letter from American Academy of Pediatrics et al. to The Honorable Charles Grassley, et al., July 24, 2018,
https://downloads.aap.org/DOFA/Senate%20Congressional%20Oversight%20Request%20Letter%20Final%2007%2024%20
18.pdf.
34
   Letter from Dr. Scott Allen and Dr. Pamela McPherson to the Honorable Charles Grassley and the Honorable Ron Wyden,
July 17, 2018, https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Disclosure%20SWC.pdf.
35
   Id.
36
   Report of the DHS Advisory Committee on Family Residential Centers, Sept. 30, 2016,
https://www.ice.gov/sites/default/files/documents/Report/2016/ACFRC-sc-16093.pdf.
37
   83 FR 45496


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The term emergency, under the Proposed Rule, means an act or event...that prevents timely transport or
placement of minors or impacts other conditions touching on the basic needs of children including
provision of snacks and meals or prolonged detention of children in border jails.38 The regulations
propose natural disaster, facility fire, civil disturbance, medical or public health concerns in the list of
examples of such events but indicate that other kinds of events might also qualify, leaving significant
room for interpretation.

An implication                                                   by DHS and HHS is to allow the agencies
to ignore the          me limitations on transferring children out of DHS custody and making detention
              39
                 Worryingly, the Proposed Rule would allow the government to routinely ignore
standards of care included in the FSA such as the requirement that the government provide a meal or
snack to a child at a certain periodicity and of certain quality while that child is detained, or the
requirement to keep unaccompanied children held for periods of over a day separate from unrelated
adults.40                        suggested                                                 is inconsistent with
the FSA and troubling for the care and treatment of children in federal custody.

Loss of Protections for Unaccompanied Children (UAC)

While children are in the custody of the federal government, extra precautions must be in place to
identify and protect children who have been victims of trafficking and to prevent recruitment of new
children into the trafficking trade. Unaccompanied minors should have free or pro bono legal counsel
with them for all appearances before an immigration judge. Children and families should have access to
legal counsel throughout the immigration pathway.41 Congress, DHS, and HHS have all recognized the
special concern for the vulnerability of unaccompanied children (UAC). For example, the TVPRA
authorizes HHS to appoint independent child advocates for child trafficking victims and other
vulnerable UACs.

The Proposed Rule 236.3(d)(1) would authorize immigration officers to repeatedly re-determine a
              status on each encounter
status. The Proposed Rule 263.3(d)(2) specifies three criteria that could each independently terminate a
                     including when the UAC turns 18, when a parent or legal guardian in the U.S. is
available to provide care and physical custody for the UAC, or when the UAC obtains lawful
immigration status. Today, once a child is classified as a UAC, the child continues to be treated as a
UAC regardless of whether they continue to meet the UAC definition. This reinterpretation of existing
DHS agency guidance and practice has major implications for the health and safety of children as well

38
   83 FR 45525
39
   See 83 FR 45498.
40
   83 FR 45496, 45526.
41
   Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.


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as their ability to pursue his or her affirmative asylum case. In addition to losing meaningful access to
legal counsel upon loss of UAC status, a child would also lose access to other vital services that the
Office of Refugee Resettlement care provider facilities are required to provide such as classroom
education, health care, recreation, mental health services, and, in some cases, case management services.
Congress, through the TVPRA and the HSA, distinguished between UACs and other minors. However,
the Proposed Rule fails to offer a reasoned explanation for disregarding the distinction Congress made
between the interests of UAC and other minors.

Cost Benefit Analysis

In the Proposed Rule, DHS and HHS fail to estimate their anticipated costs, even while the Proposed
Rule acknowledges that the alternative licensing scheme will likely mean that more children and parents
are kept in custody for longer.42 These costs are important and demonstrate a seriously flawed cost-
benefit analysis both because it does not maximize net benefits and because it fails to quantify both costs
and benefits. Even while declining to estimate their potential new spending, the agencies argue that
                                                                     43
                                                                        which would trigger additional
review under Executive Order 12866, and also deem it a major rule under the terms of the Congressional
Review Act.44

Additionally, the Proposed Rule fails to acknowledge a possible alternative to detention a program
referred to as Alternatives to Detention (ATD), a community-based alternative to detention for children
held in family units. ATD is exponentially less expensive when compared with detention of children and
families. The government reports a daily average cost of $10.55 for each person in the ATD program as
compared to a daily average of $158 for each person in detention.45 The decision to utilize ATD would
thus save the government many millions of dollars.46

Conclusion

Children, especially those who have been exposed to trauma and violence, should not be placed in
settings that do not meet basic standards for their physical and mental health and that expose them to
additional risk, fear, and trauma. It is the position of the AAP that children in the custody of their parents




42

                                      -19052,
https://www.regulations.gov/document?D=ICEB-2018-0002-0001.
43
   Ibid. (Rule)
44
                                                                            Federal Register, Vol. 58, No. 190, Oct. 4,
1993, https://www.reginfo.gov/public/jsp/Utilities/EO_12866.pdf and 5 U.S.C. § 801.
45
   GAO, Immigration: Process and Challenges in the Management of Immigration Courts and Alternatives to Detention
Program Report (Washington, D.C., Sept. 18, 2018).
46
   Id.


                                                              27
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                                                                        American Academy of Pediatrics: Page 11


should never be detained, nor should they be separated from a parent. In every decision about children,
government decision-makers should prioritize the best interests of the child.47

As detailed above, the Proposed Rule is inconsistent with the FSA and federal statute. As such, we urge
DHS to rescind the Proposed Rule and instead prioritize the best interests of children and work to
advance policies that are protective of immigrant families.

If you have any questions regarding these comments, please contact Tamar Magarik Haro, Senior
Director, Federal & State Advocacy, in our Washington, DC office at tharo@aap.org or 202-347-8600.

Sincerely,




Colleen A. Kraft, MD, MBA, FAAP
President

CAK/tmh




47
  Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy Statement: Detention of
Immigrant Children, Apr. 2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.


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    October 29, 2018



    The Honorable Kirstjen M. Nielsen                        The Honorable Alex M. Azar, II
    Secretary                                                Secretary
    U.S. Department of Homeland Security                     U.S. Department of Health & Human Services
    3801 Nebraska Avenue, NW                                 Hubert H. Humphrey Building
    Washington, DC 20528                                     200 Independence Avenue, SW
                                                             Washington, DC 20201
    Ms. Debbie Seguin
    Assistant Director
    Office of Policy
    U.S. Immigration and Customs Enforcement
    Department of Homeland Security
    500 12th Street, SW
    Washington, DC 20536

    Re:   DHS Docket No. ICEB 2018 0002; Apprehension, Processing, Care, and Custody of Alien Minors
          and Unaccompanied Alien Children

    Dear Secretary Nielsen, Secretary Azar, and Assistant Director Seguin:

    On behalf of the physician and medical student members of the American Medical Association (AMA), I
    am writing to provide comments to the U.S. Department of Homeland Security (DHS) and the U.S.
    Department of Health and Human Services (HHS) on the Notice of Proposed Rulemaking (Proposed Rule

                                       Federal Register on September 7, 2018 (83 Fed. Reg. 45486). We are
    deeply concerned about t
    parents/caregivers and urge that the proposed rule be withdrawn.

    Alternative Federal Licensing of Family Residential Centers

    In the Proposed Rule, DHS proposes to create a federal licensing scheme for family residential centers
    (FRCs) and eliminate the state licensing requirement for FRCs. On its face, this provision of the Proposed
    Rule seems innocuous, but the effect of this provision would essentially allow U.S. Immigration and
    Customs Enforcement (ICE) to use certain federal facilities to detain family units together during their
    immigration proceedings.

    Families seeking refuge in the U.S. already endure emotional and physical stress during the often long
    and dangerous journey to the U.S. This stress, and its impact on the health and well-being of children and
    their parents or caregivers, would be exacerbated if family units are detained during the pendency of their
    immigration proceedings. Studies of detained immigrants have shown that children and parents may
    suffer negative physical and emotional symptoms from detention, including anxiety, depression, and post-




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The Honorable Kirstjen M. Nielsen
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traumatic stress disorder.1 As a result, the AMA opposes the expansion of family immigration detention.
Instead, we urge the Administration to give priority to supporting families and protecting the health and
well-being of the children within those families. Prolonged detention of migrant children and their parents
is not a solution to the earlier immigration issue crea                               -tolerance policy
which led to the forced separation of thousands of children from their parents and caregivers at the U.S.
border.

The Flores Settlement Agreement (FSA), a decades-old court settlement put in place to ensure the safety
and proper care of children in immigration detention, set strict national standards for the detention,
treatment, and release of all minors (both accompanied and unaccompanied minors) in immigration
custody.2 The FSA generally requires that children be held in the least restrictive setting appropriate for a

responsible adult as deemed appropriate.3 The Proposed Rule seeks to dismantle the FSA by allowing
minors with their parents to be detained in DHS licensed family detention facilities for the entirety of
their immigration proceedings. This is troubling because the proposal could result in longer detention for
minors, beyond the 20-day timeframe outlined in the FSA. Further, the proposal seeks to expand family
detention facilities, and as discussed in detail below, current DHS family detention facilities do not adhere
to the strict guidelines that the FSA requires, and the Proposed Rule does nothing to further adherence.

DHS acknowledges in the Preamble that the Proposed Rule may result in additional or longer detention
for certain minors, but DHS is unsure how many individuals may be detained at FRCs if the Proposed
Rule is implemented. We understand that there are numerous variables to consider, but given the focus by
the Administration on border security, we believe a substantial number of migrating minor children may
be impacted by the Proposed Rule. According to DHS, in fiscal year (FY) 2013, U.S. Customs and
Border Protection (CBP) apprehended 14,855 family units at the southwest border of the U.S.; however,
in FY 2018 the number had increased to 77,802.4,5 As a result, the AMA believes that, as presently
drafted, the proposed change in immigration policy would have a negative impact on the health and well-
being of a significant number of migrating children and their families.



                                                                                                       -secure as required
                                                             rth in an exhibit attached to the FSA. In the Proposed Rule,

                                                                                                         ing schemes


currently required, in an effort to enable family detention during the pendency of immigration
proceedings. Neither federal law nor the Immigration and Nationality Act provide a comprehensive


1
  http://pediatrics.aappublications.org/content/pediatrics/early/2017/03/09/peds.2017-0483.full.pdf
2
  Flores v. Lynch, 828 F. 3d 898, 905-08 (9th Cir. 2016)
3
  Flores v. Reno, CV 85-4544-RJK(Px)
4
  83 Fed. Reg. 45493, Table 1 Family Unit Apprehensions at the Southwest Border by Fiscal Year.
5
  FY18 data does not include August and September 2018.



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 The Honorable Alex M. Azar, II
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 framework for detaining alien families during their immigration proceedings. However, as discussed in
 greater detail below, thus far, DHS detention practices have resulted in substandard health care for
 children and adults. Furthermore, the minimal standards for the family detention facilities as detailed in
 the Proposed Rule are not identical to the minimal standards outlined in the FSA. It is our belief that the
 Proposed Rule does not fully implement the FSA as the federal government argues. Instead, the Proposed
 Rule seeks to terminate the FSA, along with its state licensing standards, and instead offers migrant
 children and their parents little in the way of strict standards and protections from negative physical and
 emotional treatment in these detention facilities.

 Health and Safety Concerns

 The Preamble states that the Proposed Rule seeks to

 While this goal is laudable, it is not consistent with the recent practice at DHS facilities, as determined by
 the DHS Office of Inspector General (OIG). In a June 26, 2018, report, DHS OIG finalized its
 investigation of how and to what extent ICE examines detention conditions in more than 200 detention
 facilities. DHS OIG found that ICE was repeatedly granting waivers which allowed detention facilities to
 exempt themselves from standards that ICE deemed critically important, including those related to health,
 safety, and security.6 Furthermore, the DHS OIG Report found that neither the inspections of the
 detention facilities conducted by the ICE Office of Detention Oversight or the private company ICE
 contracts with or the onsite monitoring program ICE uses 1) ensures consistent compliance with detention
 standards; and 2) promotes comprehensive deficiency corrections.

 In a DHS OIG Report dated December 11, 2017, the DHS OIG found that medical care was delayed or
 not documented in ICE detention facilities, and detainee bathrooms were in poor condition and lacked
 basic hygiene supplies such as toilet paper, shampoo, and soap.7 While we understand that these DHS
 OIG Reports are in reference to ICE adult detention facilities, the AMA remains deeply concerned that
 there is a pattern within DHS of providing substandard health care in poor living conditions to both adults
 and minors in immigration detention facilities. There is further evidence of this in a letter sent to Congress
                                   Office of Civil Rights and Civil Liberties. The physicians describe
 medical neglect and child endangerment in family detention facilities.8 We remain unconvinced that the
 proposed federal licensing scheme for FRCs will provide an appropriate level of protection and oversight
 for the health and safety of these very vulnerable migrating children and their parents or caregivers.

 Definition of Family Unit

 Under current statute, minor aliens for whom bond has been posted, parole authorized, or ordered released
 on recognizance, must be released, in order of preference, to a parent, legal guardian, or adult relative if
 available. An adult relative is currently defined as a brother, sister, aunt, uncle, or grandparent who is not
 presently in DHS detention. The Proposed Rule seeks to remove the
                                                Parole of aliens into the United States and 8 CFR 236.3

 6
     https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf
 7
     https://www.oig.dhs.gov/sites/default/files/assets/2017-12/OIG-18-32-Dec17.pdf
 8
     https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Disclosure%20SWC.pdf



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 Detention and Release of Juveniles,
 understands the need for the Administration to ensure terminology used is consistent as it seeks to codify
 provisions of the FSA; however, the AMA seeks additional clarification from DHS in reference to this
 proposal. Sometimes the caregiver crossing the border with a migrati
 legal guardian, but remains the only family member the child has to provide comfort, safety, and stability.
 The Proposed Rule seems to treat the migrating child traveling with an adult sibling, aunt/uncle, or
 grandparent as an unaccompanied minor. If this provision is made final it will further exacerbate the


 Conclusion

 Families seeking refuge in the U.S. already endure emotional and physical stress, which is only
 exacerbated when they are separated from one another or held in family detention facilities during the
 pendency of their immigration proceedings. It is well known that childhood trauma and adverse childhood
 experiences created by inhumane treatment often create negative health impacts that can last an

 DHS family detention practices result in unacceptable treatment of children and do not comport with the
 strict guidelines that the FSA requires. Given our concerns, we urge DHS to withdraw this Proposed Rule
 and instead give priority to supporting families and protecting the health and well-being of the children
 within those families.

 If you have any questions regarding this letter, please contact Margaret Garikes, Vice President of Federal
 Affairs, at margaret.garikes@ama-assn.org or 202-789-7409.

 Sincerely,




 James L. Madara, MD

 cc: Division of Policy, Office of the Director, Office of Refugee Resettlement, U.S. Department of
     Health & Human Services




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                  November 6, 2018


                  Debbie Seguin
                  Assistant Director, Office of Policy
                  U.S. Immigration and Enforcement
                  Department of Homeland Security
                  500 12th Street SW
                  Washington, DC 20536

                  RE: DHS Docket No. ICEB-2018-0002 Comments in Response to Proposed Rulemaking:
                  Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied
                  Alien Children

                  Dear Ms. Seguin,

                  On behalf of the American Psychiatric Association (APA), the national medical specialty
                  society representing more than 37,800 psychiatric physicians nationwide, we are writing
                                                                                            Apprehension,
                  Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, as
                  published in the Federal Register on September 7, 2018. We appreciate the opportunity to
                  provide feedback on this important proposal and write with concern about the proposed
                  changes to the regulations established by the Flores Settlement Agreement (FSA). We
                  focus our comments on the negative impacts this policy change would have on children



                  Unlimited Detention Will Lead to Long-Lasting Trauma
                  The FSA was originally adopted to protect the well-being of children who are detained by
                  immigration authorities, and, as interpreted by the Courts, limits the amount of time
                  children should be detained to 20 days. The proposed rule seeks to amend the FSA to

                  appropriately licensed family residential centers (FRCs) for the time needed to complete
                                            1
                                              This vague guidance about how long families may be detained
                  is concerning and has the potential to impose long-lasting trauma on detained children
                  and their parents.

   Many families crossing the United States border are fleeing war and violence in their home countries and
   are already coping with the effects of stress and trauma. A recent study found that among Central
   American migrants arriving at the border, 83% reported violence as the primary reason for fleeing their

   1

                                                                                           -45494,
   https://www.regulations.gov/document?D=ICEB-2018-0002-0001.
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     country.2 The exposure to violence included extortion, death threats, and being victims of domestic
     violence. Reports of serious violence are also common, with nearly one third of study participants (32.2%)
     reporting that a family member had been murdered.

     A substantial body of research links the trauma of childhood detention with lasting adverse outcomes,
     including an increased risk of mental illness, such as depression, anxiety, and post-traumatic stress
     disorder.3 While people who are displaced can demonstrate high levels of resiliency, they can also
     experience disabling post-traumatic stress disorder or other consequences that adversely impact their
     medical, psychological, social, and spiritual well-being. These consequences can range from
     demoralization to various sequelae, involving simple and complex trauma complicated by the migratory
     journey and resettlement process. These migration-related and postmigration stressors can produce
     demoralization, grief, loneliness, loss of dignity, and feelings of helplessness as normal syndromes of
     distress that impede refugees from living healthy and productive lives.4,5 It is critical that children remain
     with their parents, but this will not eliminate the risk
     will compound the already significant mental health consequences they face.

     APA recommends the maximum period of detention for children and their parents not go beyond the
     current limit of 20 days and that every effort be made to minimize the number of days spent by families
     in detention to decrease the negative consequences of detention for this vulnerable population.

     Weakened Facility Protections May Lead to Worse Health Outcomes
     In the proposed rule, DHS argues that the challenges in licensing of FRCs were the precursor to families
     being separated at the border this year. To counter those challenges, the rule would eliminate this barrier
     by allowing facilities who may not be able to be licensed by state or local governments to become licensed
     and audited by a third-party auditor. Loosening the licensing standards for facilities and handing off the
     oversight and accountability to a third party is concerning, given the risks that this presents to the
     protection of the safety, health, and well-being of children and their families.
     Even before the announcement of this rule, the American Medical Association cautioned the federal
     immigration system to refrain from partnering with private facilities that do not meet the standards of
     medical care set by the National Commission on Correctional Health Care, due to the amount of reported
     preventable deaths in such settings.6 In a recent report on the current state of detention centers, the
     Office of Inspecto



     2
       Keller A, Joscelyne A, Granski M, Rosenfeld B. Pre-Migration Trauma Exposure and Mental Health Functioning
     among Central American Migrants Arriving at the US Border. PloS ONE. 2017;12(1):e0168692.
     3
       Felitti, Vincent J et al. Relationship of Childhood Abuse and Household Dysfunction to Many of the Leading Causes
     of Death in Adults. American Journal of Preventive Medicine, Volume 14, Issue 4, 245 258.
     4
       Al-Krenawi, A., Lev-Wiesel, R., & Sehwail, M. (2007). Psychological symptomatology among Palestinian children
     living with political violence. Child and Adolescent Mental Health 12:27 31.
     5
       Fernando, G.A., Miller, K.E., & Berger, D.E. (2010). Growing pains: the impact of disaster-related and daily
     stressors on the psychological and psychosocial functioning of youth in Sri Lanka. Child Development 81:1192-
     1210.
     6
       American Medical Association. AMA Adopts New Policies to Improve Health of Immigrants and Refugees (June
     12, 2017). https://www.ama-assn.org/ama-adopts-new-policies-improve-health-immigrants-and-refugees.



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                                                                The report highlights that the current lenient
     approach to inspections and onsite monitoring have led to inadequate responses to Immigration and
     Customs Enforcement (ICE) and inconsistencies in implementing corrective actions. Some examples
     included facilities failing to notify ICE about alleged or proven sexual assaults or not allow detainees to
     participate in recreation for the required standard. We are gravely concerned that weakening facility
     requirements and oversight will lead to higher incidents of physical and sexual violence.

                                                                                              needs of detained

     educational assessment within 72 hours of detainment and a minimum of six hours of structured
     education, Monday through Friday, with learning materials that reflect diversity and sensitivity.8
     However, reports indicate that standardizing educational curriculum in detainment facilities poses several
     challenges, including the wide range of academic abilities among the children.9 In some instances,
     detainment centers cannot meet the specific needs of children with disabilities and instructors have been
     forced to teach students who are heavily dosed with psychiatric drugs. Combined with the fact that these
     children are in a particularly traumatic setting, it is clear facilities are not currently equipped to
     appropriately address the educational and emotional needs of children and the extension of this
     detention will only exasperate this problem.



     flexibility to manage juvenile transfers. This would allow for longer delays in the placement of minors and
     excuse noncompliance for an undetermined amount of time, adding stress to families. For example, the
     proposal mentions that a snack or meal may be delayed in an emergency, but the guidance leaves the
     facility to decide the rationale and length of an emergency. In the previously mentioned OIG report,
     investigators revealed that facilities are already failing to meet compliance and the growing issues with
     ICE agents granting waiver to exempt facilities from compliance resulting in health, safety, and security
     issues. It would be dangerous and negligible to legitimize a violation of minimum standards in FRCs for
     detainees.

     APA recommends DHS hold detainment centers accountable to the maximum safety and compliance
     requirements and make no exemptions to these standards. Rather than handing off oversight
     responsibility, we urge DHS to take a greater role and responsibility in eliminating the risks of
     maltreatment and neglect in FRCs.

     Meeting the Mental Health Needs of Detained Families



     7
       Dept. of Homeland Security Office of Inspector General,
     Do Not Lead to Sustained Compliance or Systemic Improvements, OIG-18-67 (June 26, 2018),
     https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf.
     8
       Office of Refugee Resettlement, Children Entering the United States Unaccompanied (April 20, 2018),
     https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-unaccompanied-section-3#3.3.5
     9
       G
                 New York Times. https://www.nytimes.com/2018/07/06/us/immigrants-shelters-schools-border.html



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     Research shows that despite the threat of punitive measures, families fleeing the Northern Triangle region
     of Central America will continue to flee violence to save their lives and those of their children.10 It is critical
     that FRCs do better to meet the mental health needs of detained families. Psychiatrists are uniquely
     qualified to help children and families recover from the trauma inflicted upon immigrants and refugees
     by displacement from and within their home countries and can provide direct psychotherapeutic and
     psychosocial interventions.11 Each FRC should staff their leadership teams with psychiatrists to
     appropriately care for persons suffering posttraumatic symptoms and other migration-related syndromes
     of distress.

     Earlier this year, Drs. Scott Allen and Pamela McPherson, who respectively serve as the medical and
     psychiatric subject matter experts for the DHS, wrote a letter to the Congressional Whistleblower Caucus

     They noted that FRCs have largely failed in recruiting adequate health staff, including pediatricians, child
     and adolescent psychiatrists, and pediatric nurses.12 Their observations have true public health
     consequences, as noted in a facility where numerous children were vaccinated with adult doses of vaccine
     when the providers were not familiar with labels on pediatric vaccines. Additionally, they warned that
     the detention centers were not equipped to screen detainees for trauma. These factors, combined with
     the language barriers immigrant families face, can lead to preventing families from receiving the care they
     need while detained. This is deeply troubling considering the unique and critical needs of immigrant
     families.



     health needs, integrate psychiatrists into their programmatic leadership, and educate staff to deliver
     trauma-informed and culturally competent care.

     We urgently call on DHS to address each of these concerns. Thank you again for the opportunity to
     respond to this proposal. We welcome the opportunity to further continue this conversation and ask that
     you contact Kathy Orellana at korellana@psych.org if you have questions.

     Sincerely,



     Saul Levin, MD, MPA, FRCP-E
     CEO and Medical Director



     10
        Medecins sans Frontieres,
     (June 2017), https://www.msf.org/sites/msf.org/files/msf_forced-to-flee-central-americas-northern-
     triangle_e.pdf.
     11
        American Psychiatric Association. Position Statement on the Role of Psychiatrists in Addressing Care for People
     Affected by Forced Displacement (2017). https://www.psychiatry.org/File%20Library/About-APA/Organization-
     Documents-Policies/Policies/Position-2017-People-Affected-by-Forced-Displacement.pdf
     12
        Dr. Scott Allen and Dr. Pamela McPherson, Letter to the Senate Whistleblowing Caucus, July 17, 2018,
     https://www.whistleblower.org/sites/default/files/Original%20Docs%20Letter.pdf.



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 DHS Docket No. ICEB 2018 0002
 Debbie Seguin Assistant Director, Office of Policy,
 U.S. Immigration and Customs Enforcement,
 Department of Homeland Security,
 500 12th Street SW, Washington, DC 20536

 RE: Apprehension, Processing, Care and Custody of Alien Minors and Unaccompanied Alien
 Children

 Dear Ms. Seguin,

 The Center for Law and Social Policy (CLASP) is grateful for the opportunity to comment on this
 proposed rule. CLASP strongly opposes the proposed changes to the Flores settlement agreement.
 We urge the Administration to withdraw the regulation and uphold current provisions regarding
 implementation of the Flores settlement. The proposed regulations, which would expand the use of
 family detention and weaken protections for migrant children, should be withdrawn because they
 are inconsistent with the terms of the settlement and are inappropriate, ineffective, immoral, and at
 great odds with decades of research on child wellbeing.

 Established in 1968, CLASP is a national, non-partisan, non-profit, anti-poverty organization that
 advances policy solutions for low-income people. CLASP staff have expertise in, and have conducted
 national research, on how immigration enforcement policies impact the safety and wellbeing of
 children.1 For decades, CLASP has been a leading expert on early education policies that promote
 the wellbeing and healthy development of low-income young children. We have a deep
 understanding of the importance of health, safety, and quality standards in early childhood settings,
 as well as the consequences for children and families when they do not have access to high-quality
 settings or are cared for in suboptimal settings. These comments draw upon CLASP expertise in the
 areas of child development, child care, child welfare, and immigration policy.

 Our comments below explain why (1) the overall framework of the proposed regulations is deeply
 flawed, harmful to children, unjustified, and inconsistent with the available research and evidence
 and (2) many specific provisions cause additional harm to the safety and development of
 unaccompanied children.




                                                                        6-        www.clasp.org
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1. A deeply flawed proposal that would harm children
The Flores settlement was established to ensure that migrant children in the custody of the federal
government are afforded critical protections and cared for in settings that are in the best interest of
the child. This is consistent with international, federal, and state laws recognizing that children are
unique from adults and should be afforded special protections. The unique developmental needs of
children, extensively described in a substantial research record, are of paramount importance when
crafting policies that directly impact their health, safety, and wellbeing.

At its core, this proposed rule relies on flawed rationales and ignores relevant research to justify the
expansion of family detention and the removal of protections for migrant children         both of which
would greatly undermine the safety, development, and wellbeing of children. The proposed rule
disregards decades of child welfare research and practice that uphold the best interests of children
and the crucial importance of the parent-child relationship. It also relies on false assertions that the
practice of detention itself strengthens the parent-child relationship and will deter other migrants
from the entering the United States.

Expanding the Harmful Practice of Family Detention

We are opposed to the harmful and dangerous practice of detaining children           alone or with their
parents   and firmly believe that all facilities overseeing the care of children should be subject to
standards established by an agency with expertise in child welfare. The expanded use of family
detention, as a result of this proposal, will have the following damaging effects:

       Harms to mental and physical health. Numerous medical experts have denounced
       immigration detention centers as harmful to the short- and long-term health of children.
       Research indicates that detention for any amount of time, but especially for an extended
                                                                  child mental health expert, evaluated
       nearly 50 children and mothers in multiple detention centers and found extremely high levels
       of anxiety, depression, suicide attempts, and regressions in child development.2 These
       regressions include declines in language development, impaired cognitive development, bed
       wetting, decreased eating, sleep disturbances, social withdrawal, and aggression.3
       Researchers have also found that the negative consequences of even brief detention can
       cause long-term trauma and mental health risks for children. Other medical experts have
       testified that detention centers have poor conditions and do not provide adequate access to
       health services, including long wait times for medical attention and inadequate treatment for
       chronic conditions.4 In one case, an 18-month-old toddler died of respiratory failure after she
       and her mother were released from the Dilley detention center where she was provided
       inadequate treatment despite a consistently high fever and progressively worsening
       symptoms.5



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       Harms to young children. Detention is harmful and inappropriate for children of any age, but


       importance to their later success and wellbeing.6 Many children in family detention centers
       are infants, toddlers, or children under the age of six. 7
       shape their long-term development. Detention centers are extremely stressful and unstable
       environments that often undermine parent-child relationships, which are the foundation of
                                                                                -emotional development
       is also inextricably linked to that of their parents and caregivers, and the suffering of their
       parents has a collateral impact on them. Persistent and substantial exposure to fear and
       anxiety
                                                                    al brain development leading to
       mental health disorders, developmental delays, and physical and mental health problems that
       last into adulthood.8
       Harms to the parent-child relationship.
       respects strengthen the stability of the family and the authority of and rights of parents in the


       This statement has no factual basis and runs counter to research showing that detention
       centers interfere with the parent-child relationship by undermining parental authority in
       matters of discipline and basic decision-making, such as child care, education, and social
       interactions.9 Sharing bedrooms and eating quarters with multiple families on a daily basis
       prevents parents from creating normal family routines; this lack of control creates additional
       stress for parents that is passed on to children. For babies and toddlers, especially, institutions
       interfere with the developing parent-child relationship and create high levels of stress for
       parent and child.10

We ultimately concur with findings of the advisory committee of experts in child development,
education, and childr            that made the following over-arching recommendation with regards
to family detention in its 2016 report:



       detention is generally neither appropriate nor necessary for families     and that detention
       or the separation of families for purposes of immigration enforcement or management,
       or detention is never in the best interest of children. DHS should discontinue the general
       use of family detention, reserving it for rare cases when necessary following an
       individualized assessment of the need to detain because of danger or flight risk that
       cannot be mitigated by conditions of release. If such an assessment determines that
       continued custody is absolutely necessary, families should be detained for the shortest
       amount of time and in the least restrictive setting possible; all detention facilities should
       be licensed, non- secure and family-friendly.11

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The rule is based on the flawed premise that family detention is effective.


from entering the United States.12 Neither family separation nor detention have been effective
deterrents for migrants as shown by both DHS and external researchers.13 Many of the families who
are detained by DHS entered the United States to escape the extraordinarily high rates of murder
and gender-based violence in El Salvador, Guatemala, and Honduras.14 So long as the conditions in
these countries are unchanged, families will continue to have a compelling motive to enter the
United States and other countries in the region. It is important to note that many of the children and
families who would be impacted by this rule are likely eligible for asylum based on U.S. Citizenship
and Immigration Services (USCIS) data showing that nearly 88 percent of families in its detention
centers have exhibited credible fear.15

The rule ignores the effectiveness of more child-appropriate alternatives to detention programs.

The rule sets up a false dichotomy between two options: family separation or detention. In fact, more
humane and developmentally appropriate alternative methods exist to ensure that families comply
with their immigration orders. Family case management models that place families in communities
and connect them to services that support them throughout their immigration case not only provide
a more humane and cost-effective alternative to detention, but also promote healthy child
development and can help families better integrate into their new communities. In fact, following the
increase in family units in 2014, DHS introduced a pilot program in 2016 known as the Family Case
Management Program (FCMP). The FCMP operated from January 2016 to June 2017 with 952
families across five major cities. The FCMP solely served families seeking asylum and used research-
based individualized case management and partnerships with community-based organizations to
give families in the program a deep understanding of the immigration process to encourage their
compliance with U.S. immigration law.16

The FCMP was successful at ensuring com
percent attended their immigration court hearings and 99.4 percent attended their appointments
with ICE. Some of the participants were granted immigration relief including asylum, while others
were ordered removed. Importantly, those who were ordered removed complied with their removal.
The FCMP achieved extremely high rates of compliance at much lower costs than family detention.
While detaining families in DHS facilities costs nearly $320 per person per day,17 the FCMP costs $38
per day per family unit. The cost to detain a family of 3 for 20 days is more than 25 times the cost to
enroll them in the FCMP.



The Flores settlement specifically requires that federal authorities must transfer children in their
                                          -secure facility that is licensed by the states to provide

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residential, group, or foster care services for dependent childre      The rule proposes an alternative
federal licensing scheme, consistent with ICE standards for family residential centers, that would
govern the operation of family detention. The proposal purports
effectively the same substantive protections that the state licensing requirement [in the Flores


                              in additional or longer detention for certain

State licensing standards for the care of children in out-of-home settings exist to provide a baseline
of protection for the health and safety of children in light of their particular needs and vulnerability.18
Such licensing regulations can safeguard the health and safety of children by mitigating risks of
injury or death, reducing the spread of communicable diseases, and setting up conditions that
promote positive child development. Agencies use such standards because their missions typically
include safeguarding the wellbeing of children (such as a child welfare or child care agency). An


                        in that Flores recognized the unique vulnerability of children and the unique
considerations their status as children necessitates in licensing a detention facility. Regulations for
the care of children differ by age as does                                      of attention to the unique
needs of the youngest children is especially harmful because the health and wellbeing of infants and
toddlers are dependent on their caregivers and environments.19

Moreover, research makes clear that more frequent observations of compliance, through the
monitoring of standards, are more likely to yield compliance with licensing standards. For
monitoring to play that critical role, the credibility and impartiality of the monitor is essential. In the
proposed regulation, DHS proposes to ensure compliance through the use of a third-party auditor. A
monitor whose client is the same entity being monitored raises significant concerns regarding the
          credibility and impartiality.

Current standards for ICE family detention centers fail to address core components of child
wellbeing and protection.                                                                                 -
emotional, health, mental health, and physical developmental needs at varying ages.20 Moreover,
DHS has a history of mistreating families and children in its detention centers. The conditions in
family detention centers are clearly not conducive to providing these vulnerable families with the
support they
deteriorates the longer they are in detention.21 Experts report regressions in child development,
suicide attempts, and high levels of anxiety and depression among detained children. 22 Furthermore,
various assessments     including a 2016 assessment made by a DHS-appointed advisory committee
have established that appropriate standards are simply impossible within the context of family
detention.23




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The rule notes that family detention centers are not aligned with existing state licensing systems. In
fact, the myriad licensing challenges that detention facilities face demonstrate the importance of this
requirement of the Flores settlement agreement and the crucial role of licensing and monitoring in
guarding against and identifying inappropriate conditions for children. For example, the T. Don
Hutto Center in Texas closed after three years of operation due to multiple lawsuits about the
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                               In January 2016, the Pennsylvania Department of Human Services
revoked the child care license of the Berks County Residential Center because DHS was found to be
using its license inappropriately.25                                                               ure
standards and regulations, the facility continued to operate for a year with a suspended license.

In late 2015, the Texas Department of Family Protective Services introduced a regulation called the
                                                         er to detain children while exempt from
statewide health and safety standards. In June 2016, a judge ruled that such an exemption could put
children at risk of abuse, particularly due to shared sleeping spaces with non-related adults. In
December 2016, that decision was upheld by a federal judge.26 The numerous reports of sexual
abuse at DHS facilities and lack of adequate medical services point to the urgent need for
appropriate oversight of facilities housing families and children. 27

2. Undermining the Safety and Development of Unaccompanied Children

The proposal includes numerous troubling provisions that would weaken the protections guaranteed
under existing law for unaccompanied children who enter the United States without their parents or
family members. These changes would significantly exacerbate the trauma experienced by
vulnerable children seeking refuge in the U.S.    a population that now includes an increasing number
of young children and put them at greater risk of being unnecessarily returned to the very danger
they were seeking to escape. Specifically, the regulations would:

Limit the extent to which children can be released from detention.

The proposed changes under 8 CFR 212.5 would hold children in expedited removal proceedings to
the same standard as adults in parole release decisions. Children particularly those who have
undergone trauma      experience great harm from any time in detention; therefore, it is critical that
they remain eligible for release on a case-by-case basis, including discretion for humanitarian
circumstances.28 Prolonged detention has been shown to exacerbate trauma and its negative
impacts. Children in detention are 10 times more likely to develop Post-Traumatic Stress Disorder
(PSTD) than adults, and their symptoms become increasingly common the longer a child is in
detention.29 The proposed change would only allow release for medical necessity or for law
enforcement purposes. It would also limit the extent to which an immigration judge can consider
other risk factors such as reunification with family or mental health needs, putting numerous children
at great risk for long-term developmental harm. U.S child welfare practices have moved


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progressively away from placing children in congregate care. 30 Settings are chosen in consideration
of the best interests of the child, including placing children in the least restrictive setting available
and with a preference for placing children in the care of or in close proximity of family members.31
The proposed rule moves even further away from well-accepted principles of child welfare by
                                                                     release from detention facilities.

Make it more difficult for unaccompanied children to reunify with family.

Currently, children transferred to the care of the Office of Refugee Resettlement (ORR) can be
released to a parent, legal guardian, or an adult relative. DHS proposes removing the terms



specifically stipulated in the Flores settlement.32 The proposal is also at odds with existing child
welfare principles that recognize the importance of keeping children with their families whenever
possible to minimize trauma, promote child wellbeing and reduce the harm to children from
spending time in congregate care settings. A wealth of research guiding U.S. child welfare practice
supports placing children who are not able to be reunified with parents in the care of relatives (also
                            including with grandparents and other adult relatives       to minimize the
trauma caused by separating a child from a parent and to help maintain family and cultural ties.33 By
restricting the type of relative a child may be released to, DHS is increasing the likelihood of children
being held indefinitely in institutional care   at great developmental risk     and denying them the
ability to be reunited with family.

Puts children at risk of losing their protections.

Under 8 CFR 236 (c), the rule proposes creating a new process for determining the age of a minor


such a determination or what factors should be considered, other than medical and dental
examinations. Under 8 CFR 236 (d), the rule proposes that unaccompanied minors undergo a
redetermination process each time they are encountered by an immigration officer. These additional
burdens would delay the extent to which children are afforded the protections they are entitled to as
unaccompanied children and put them at risk of losing their protections throughout the duration of
their immigration process. The rule also grants increased discretion to both DHS and the
Department of Health and Human Services to suspend protections for unaccompanied children,
reduce accountability, and put children at greater risk of being held in inappropriate conditions for
extended periods of time.




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Conclusion

As experts in child development, we strongly oppose this rule and urge the Administration to
withdraw the rule and uphold the standards established by the Flores settlement. The changes
outlined in the NPRM would compromise the immediate safety of vulnerable children and harm their
long-term development. We are deeply concerned that the proposed rule would expand the harmful
practice of jailing children with their families by creating a separate licensing system for such
facilities. The rationale provided for this devastating harm to children and to the parent-child
relationship is deeply flawed and ignores relevant research. No modest fixes will solve the
fundamental problems with this regulation; it must be withdrawn.

Rather than roll back protections, the Administration should be focused on strengthening and
expanding services to children and working to ensure that vulnerable children and their families are
supported throughout the immigration enforcement process. There is never an appropriate reason
to jail children, rob them of their basic needs, or needlessly separate them from their parents. Every
child who comes into the custody of our government, regardless of immigration status or where
they came from, should be guaranteed protection and services to mitigate trauma and promote their
healthy development.



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 November 6, 2018

 Submitted via email to ICE.Regulations@ice.dhs.gov

 Debbie Seguin
 Assistant Director
 U.S. Immigration and Customs Enforcement Office of Policy
 500 12th St., SW
 Washington, D.C. 20536

 Dear Ms. Seguin,



 opposition to the proposed rule to amend regulations relating to the apprehension, processing, care,
 custody, and release of alien juveniles published in the Federal Register on September 7, 2018.

                                                  -Texas has worked to ensure that every child has a
 Healthy Start and a Safe Start in life and successful passage to adulthood. CDF provides a strong,
 effective and independent voice for all the children of America who cannot vote, lobby or speak for
 themselves. We are committed to raising awareness about the challenges facing Texas children,
 connecting children and families to resources that help to meet their needs, and working with partners
 statewide to coordinate broad support for legislative action on behalf of Texas children and families.

 For the reasons detailed in the comments that follow, DHS and the Department of Health and Human
 Services (HHS) should immediately withdraw their current proposal, and dedicate their efforts to
 advancing policies that safeguard the health, safety, and best interests of children and their families, not
 least through robust, good-faith compliance with the Flores Settlement Agreement.

 As we write, thousands of vulnerable immigrant children are being forcibly held in detention centers
 under conditions that cause extreme distress and trauma. This is a violation of their human rights, and a
 violation of the commitments we, as a nation, have made about who we are and how we ought to treat
 people. As written, the proposed regulations would essentially permit indefinite detention of children,
 limit the family members to whom a detained child could be released, and roll back the minimal

 accommodations. Furthermore, the regulations would allow detention centers to            -
 care facilities, a proposal that dismisses the concepts of oversight, accountability, and child care
 standards, and in the end represents a serious miscarriage of justice. Our main points of concern are the
 wellbeing and safety of immigrant children and families, the restrictions placed on children being
 released from detention centers, the potential for living conditions to considerably worsen in detention
 centers, and the unnecessarily high cost of the NPRM. We strongly urge you to consider these
 concerns before moving forward with the proposed changes.

 To allow for the indefinite detention of migrant children is tantamount to child abuse. Any amount of
 time is too long for a migrant child to be held in a detention center. After fleeing a life filled with
 danger, violence, and fear, and then surviving the dangerous trek to the United States, to incarcerate
 these children is piling additional and unnecessary trauma upon them. Growing up in settings of

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ongoing stress interferes with c
well as, intellectual and cognitive impairments.1 These impacts can have harmful repercussions


According to medical experts, DHS detention facilities are not appropriate places for children to be
housed. In 2017, the American Academy of Pediatrics published a policy statement titled Detention of
Immigrant Children stating that immigrant children seeking safe haven in the United States should never
be placed in detention facilities.2 The American Medical Association has also adopted a policy opposing
family immigration detention given the negative health consequences that detention has on both children
and their parents.3 In 2018, the American College of Physicia
family detention indefinitely holding children and their parents, or children and their other primary

resolved can be expected to result in considerable adverse harm to the detained children and other
family members, including physical and mental health, that may follow them through their entire lives,
                                                                                     4



Despite these and many other warnings from medical experts, DHS proposes in this NPRM to substitute
its own Immigration and Customs Enforcement (ICE) family residential standards where its family
detention facilities cannot obtain licensing from state, municipal, or other appropriate child welfare
entities.5 This would have the effect of eliminating the critical Flores Settlement Agreement limitation
on the detention of children in unlicensed facilities. As a result, and as explicitly intended by DHS in
promulgating these proposed rules, DHS would detain children with their families for the entirety of
their immigration proceedings--in effect, indefinitely.

The proposed rule would also include restrictions that will make it harder for children to be released
from detention centers by changing the immediate release protocol by only allowing a child to be
released to a parent or legal guardian. Since many parents of detained children are likely to be detained
themselves, a majority of these children have little to no chance of seeing a speedy and just release.
Immigrant children could spend months to years in detention while waiting for the release of their
parent/guardian.

In Texas, the current living conditions in detention centers have been full of reports of negligence.
There have been firsthand accounts in a lawsuit
that included allegations of physical and verbal abuse, inedible food, undrinkable water, unhygienic
bathroom facilities, and generally uninhabitable living conditions.6 There are currently 13 detention
centers across Texas, two of which are family detention centers. According to the report by the
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 infrastructure, and policies to house and care for children without causing significant physical and
 emotional harm to them.7

 Any length of detention is known to have negative short and long-term effects on the health and well-
 being of refugees, many of whom are children and the survivors of multiple traumas. Indefinite
 detention is guaranteed to trigger severe medical and mental health consequences.8 Numerous clinical
 studies have demonstrated that the mitigating factor of parental presence does not negate the damaging
 impact of detention on the physical and mental health of children.9 In a retrospective analysis, detained
 children were reported to have tenfold increase in developing psychiatric disorders.10 Studies of health
 difficulties of detained children found that most children since being detained reported symptoms of
 depression, sleep problems, loss of appetite, and somatic complaints such as headaches and abdominal
 pains; specific concerns include inadequate nutritional provisions, restricted mealtimes, and child
 weight loss.11                                                            -month-old baby lost a third of
 his body weight over 10 days because of untreated diarrheal disease, yet was never given IV fluids. 12

 Indeed, in Texas the evidence shows that the family residential centers at Karnes and Dilley are no
 different. Women and children reported wait times of three to fourteen hours to receive medical care.13
 These wait times routinely occur in cases of serious and urgent conditions. In at least one instance, a
 mother who had to leave the medical line after waiting for hours was forced to sign a letter stating she
 refused medical care.14 The children in these facilities have been through horrendously traumatic
 experiences such as rape; witnessing the murders of friends, family, and neighbors; death threats;
 kidnapping for ransom; widespread extortion; losing family members to gangland assassinations; and
 forced conscription of small children into violent gangs. Detention only serves to re-traumatize these
 already vulnerable children and families.15 Dr. Amy Cohen, a child psychiatrist, has worked with
 trauma victims for over 30 years and has said that she has never spoken to more traumatized
 individuals.16 Dr. Cohen worked with children and families in the McAllen, TX detention center and

 7
   O'Connor, Kathleen et al. "No Safe Haven Here: Children And Families Face Trauma In The Hands Of U.S.
 Immigration". Uusc.Org, 2018, http://www.uusc.org/sites/default/files/no_safe_haven_here_-
 _children_and_families_face_trauma_in_the_hands_of_u.s._immigration.pdf.
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   Physicians for Human Rights, Punishment before Justice: Indefinite Detention in the US (June 1, 2011),
 https://phr.org/resources/punishment-before-justice-indefinite-detention-in-the-us/.
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   Dudley, Michael, Zachary Steel, Sarah Mares, and Louise Newman. Children and Young People in Immigration
 Detention. Current Opinion Psychiatry 25, no. 4 (July 2012): 285-92. doi:10.1097/YCO.0b013e3283548676; Ehntholt, K.,
 Trickey, D., Harris Hendriks, J., Chambers, H., Scott, M., Yule, W., & Tibbles, P. (2018). Mental health of unaccompanied
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 238 257; Kronick, R., Rousseau, C., & Cleveland, J. (2015). Asylum-
 Canada: A qualitative study. American Journal of Orthopsychiatry, 85(3), 287.
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    Steel, Zachary, Shakeh Momartin, Catherine Bateman, Atena Hafshejani, Derrick M. Silove, Naleya Everson, Konya
 Roy, Michael Dudley, Louise Newman, Bijou Blick, and Sarah Mares. Psychiatric Status of Asylum Seeker Families Held
 for a Protracted Period in a Remote Detention Centre in Australia. Australian and New Zealand Journal of Public Health
 28, no. 6 (September 25, 2004): 527-36. doi:10.1111/j.1467-842x.2004.tb00042.x.
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    Lorek, Ann, Kimberly Ehntholt, Anne Nesbitt, Emmanuel Wey, Chipo Githinji, Eve Rossor, and Rush Wickramasinghe.
 The Mental and Physical Health Difficulties of Children Held within a British Immigration Detention Center: A Pilot
 Study. Child Abuse & Neglect 33, no. 9 (September 2009): 573-85. doi:10.1016/j.chiabu.2008.10.005.
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    Dr. Scott Allen and Dr. Pamela McPherson, Letter to the Senate Whistleblowing Caucus, July 17, 2018,
 https://www.whistleblower.org/sites/default/files/Original%20Docs%20Letter.pdf.
 13
    Feliz, Wendy, and Maria Frausto. "Deplorable Medical Treatment At Family Detention Centers". American Immigration
 Council, 2018, https://www.americanimmigrationcouncil.org/news/deplorable-medical-treatment-family-detention-centers.
 Accessed 5 Nov 2018.
 14
    Feliz, Wendy, and Maria Frausto. "Deplorable Medical Treatment At Family Detention Centers". American Immigration
 Council, 2018, https://www.americanimmigrationcouncil.org/news/deplorable-medical-treatment-family-detention-centers.
 15
    Lee, Esther Yu Hsi. "How Immigration Detention Centers Retraumatize Women And Children Fleeing From Violence".
 Thinkprogress.Org, 2015, https://thinkprogress.org/how-immigration-detention-centers-retraumatize-women-and-children-
 fleeing-from-violence-5624ac39e0ec/.
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    Cohen, Amy. "Child Immigration: Mental Health Issues". SERMO, 2014, http://blog.sermo.com/2014/08/15/child-
 immigration-mental-health-issues/
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recounted their stories, of trauma and violence in their home countries, PTSD from the initial
separation and detention in the United States, and their uncertain living conditions in detention
centers.17 Dr. Cohen concludes that these separation and detention conditions are sites of extreme and
continuous trauma. Instead of providing the trauma-informed care refugees deserve, these facilities
treat refugees and children inhumanely. Allowing families to be detained in these facilities implicitly
validates the inhumane treatment of migrant families.

By seeking to extend the lengths of stay for children, the Administration is endorsing a practice that is
in violation of international conventions for the treatment of refugees and asylees. According Article
37 of the United Nations Convention on the Rights of the Child (CRC), detention of children should
                                                                                                      18

Additionally, the CRC states that children shall not be arbitrarily denied his or her liberty and should
                                                                  19
                                                                     The immigrant families and children
who enter the United States to seek asylum have broken no law indeed, they are following
international conventions for asylum, which dictate that an individual must present themselves at the
border and ask to be given a hearing for asylum. Under the detention guidelines set forth by the United
Nations High Commissioner for Refugees (UNHCR), asylum seekers should only be detained under
exceptional circumstances, which does not include illegal entry.20 The UN Convention and Protocol on
the status of refugees also states that there should not be penalties for illegal entry or presence for those
refugees whose life or freedom was at risk.21

Our third concern focuses on the potential for these already inappropriate, often dangerous, and
occasionally lethal conditions to worsen with the proposal for detention centers to self-certify. Under the
proposed regulation that would supersede Flores, DHS would be able to detain children for prolonged
periods in facilities that are not licensed by a state child welfare agency. The proposal would allow DHS
             an entity outside of DHS that has relevant audit experience to ensure compliance with the
                                                                                                    22
                                                                                                       DHS

centers while allowing for longer periods of detention.23 However, as already discussed above in the
comments about conditions in detention center
of oversight, transparency, and accountability leave much to be desired in the care and treatment of
detainees. This sort of self-certification, or third-party contractor certification, is the recipe for a further
deterioration of conditions, and seeds concerns among child advocates that DHS is neither capable nor
desirous of taking seriously its responsibility for the well-being of the children and families in its
custody.

The Trump Administration has claimed that a primary reason for the push towards increasing and
lengthening detention of immigrant families is to deter more immigrants and asylum-seekers from




17
   Cohen, Amy. ""They Are Struggling": A Child Psychiatrist Writes From A Texas Shelter". Instyle, 2018,
https://www.instyle.com/news/immigrant-children-trump-policy-longterm-effects
18
                                                                           United Nations Treaty Series, vol. 1577,
1989, https://www.ohchr.org/Documents/ProfessionalInterest/crc.pdf.
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   UN High Commissioner for Refugees. Guidelines on the Applicable Criteria and Standards Relating to the Detention of
Asylum-Seekers and Alternatives to Detention      http://www.unhcr.org/505b10ee9.html.
21
                                                                        United Nations Treaty Series, vol. 189, 1951,
http://www.unhcr.org/en-us/3b66c2aa10.
22
                                                                                                   rocessing, Care,
                                                               Federal Register, Vol. 83, No. 174, Sept. 7, 2018, p.
45525. https://www.gpo.gov/fdsys/pkg/FR-2018-09-07/pdf/2018-19052.pdf (Downloaded Oct. 15, 2018)
23
   Id., p. 45488.
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entering the United States.24 However, data shows that the flow of immigrant and asylum seekers to
the U.S. has not decreased since the implementation of these harsh policies. Immigrant families
continue to choose to seek asylum in the U.S. because of the dire circumstances they are fleeing in
their home countries. As a result, these harsh policies result in only harming children without attaining
any intended benefits. Unlimited detention also violates the prohibition against torture and ill-
treatment under U.S. and international law. The UN Special Rapporteur on torture has unequivocally
stated that ill-
deterring, intimidating, or punishing migrants or their families, or coercing them into withdrawing their
                        25



The United States does not have to engage in such problematic, ineffective, and expensive policies
when effective and cost-effective alternatives exist. Before establishing family detention centers like
Karnes in 2010 and Dilley in 2014, existing US policy allowed asylum seekers to be in community-
based settings. Concerns about low rates of attendance for legal proceedings are easily answered.
When an asylee is working with legal representation, asylum seekers attend their court date 98 percent
of the time. Community-based organizations take care of asylum seekers in trauma free settings for
only $20 dollars a day and have up to 99% court attendance rate. Even an ankle monitoring system,
which CDF would oppose as unnecessary, could be implemented for $8 a day. By contrast, the
proposed regulations are estimated to cost approximately $2.8 billion per year, which would constitute
an unnecessary strain on the national budget. It seems self-evident that the only parties who reap the
benefit of indefinite detention are the private prison corporations who maintain these facilities, and
they will be raking in the profits in record hauls.26 We should not opt to waste resources when there are
less harmful and more sustainable options at our disposal.

Thank you for this opportunity to submit comments on the NPRM.

We implore you to reject the proposed changes to the Flores Amendment. Adopting it will put these
families through incredible stress and force these children to suffer unnecessary trauma. We, as
Americans, should not stand by and pass regulations that harm the innocent families and children seeking
a better life in our country.

                                                            Sincerely,




                                                            Patrick Bresette
                                                            Executive Director




24

Nytimes.Com, 2018, https://www.nytimes.com/2018/10/22/us/migrant-families-crossing-border-trump.html. Accessed 5
Nov 2018.
25
   Rapport of the Special Rapporteur on torture and other cruel, inhuman or degrading treatment or punishment, Nils
Melzer, Migration-related Torture and Ill treatment, A/HRC/37/50 (February 2018).
26
   Zusha Elinson, The Wall Street Journal,                      -Detention Plans Benefit Private Prison Operators .
https://www.wsj.com/articles/trumps-immigrant-detention-plans-benefit-these-companies-1530523800
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        November 5, 2018

        Submitted via www.regulations.gov

        Debbie Seguin
        Assistant Director
        Office of Policy
        U.S. Immigration and Customs Enforcement
        Department of Homeland Security
        500 12th Street SW
        Washington, DC 20536

        Re: DHS Docket No. ICEB-2018-0002, Comments in Response to Proposed Rulemaking:
        Apprehension, Processing, Care, and Custody of Alien Minors and
        Unaccompanied Alien Children

        Dear Ms. Seguin:

        I am writing on behalf of
        health and well-being of all children, to express strong opposition to the proposed rule to amend
        regulations relating to the apprehension, processing, care, custody, and release of alien juveniles
        published in the Federal Register on September 7, 2018.

        At First Focus we believe that all children, regardless of their immigration status should have the
        opportunity for healthy growth and development. We believe that as a nation, it is our collective
        responsibility to ensure that children who are seeking asylum in the United States are not deterred
        from doing so and that our government provides the best protections and services to these
        vulnerable children during every step of the process. We also agree with the long-standing child
        welfare principle that children should be placed in the least restrictive setting possible and that
        children do best when they are in the care of their family.

        After years of litigation surrounding the treatment of children in immigration detention, the Flores
        Settlement Agreement (FSA) set national standards and protections for the detention, release, and
        treatment of both accompanied and unaccompanied children. We are deeply opposed to any
        changes that would undermine these protections for children and allow for their prolonged
        detention in family detention facilities. Additionally, we oppose any amendments that will
        allow immigrant children to be detained in facilities licensed by the Department of Homeland
        Security (DHS) which has proven time and time again to be woefully inadequate and dangerous for
        children.




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Any changes to current standards should focus on the best interest of the child and build
on the Flores protections. In every U.S. system that serves children from the education system to
the child welfare system there is a recognition that policies and practices should be informed by
research and seek to achieve the best possible outcomes for the children involved. Immigration
enforcement and immigration policy decisions must consider the long-term consequences for
children affected by these decisions. This proposed rule does not.

Thank you for the opportunity to submit the comments below on the NPRM. You may contact
Kristen Torres at Kristent@firstfocus.org or by phone 202-866-0647 for more information.

                                            Comments on the Proposed Rule

The proposed rule would cause significant harm to children by allowing them to be
detained in family detention facilities.

The rule proposes to allow detention of children with their parent or legal guardians for an extended
period of time. Despite the fact that we know that detention for any amount of time has negative
life-long consequences for a child                              -being, and these consequences are
compounded for children who have already experienced significant trauma. Children in detention
facilities are ten times more likely than adults to experience symptoms of Post-Traumatic Stress
Disorder (PTSD), and those rates increase the longer a child is in detention. 1According to another
study,                                                                        even when detention is
        2
          I                                                     health, medical experts have also found
that the conditions of detention can have life-
and social development.3 The American Academy of Pediatrics recommends discontinuing the
general use of family detention and instead use community-based alternatives to detention for
children and families.4 Experts at the United Nations Office of the High Commissioner urge that
migrant children be treated first and foremost as children. While family unity needs to be preserved
at all costs, it cannot be done at the expense of detaining entire families with children. Family-based
alternatives to detention must be adopted urgently. 5 The American Medical Association also opposes
family detention due to the negative health outcomes on both the children and their parents. 6

                                                                               -being, detention has
proven ineffective in deterring refugees from migrating and violates both international and U.S. law.
Mothers who are fleeing extreme violence in order to protect their children will continue to seek
refuge, even if that means risking long periods in detention. The alarming increase in gender-based
violence and gang-related crime in the Northern Triangle continues to endanger the lives of children

1 Australian Human Rights Commission. (2015). The Forgotten Children: National Inquiry on Immigrant Children in Detention.
Available at: https://www.humanrights.gov.au/our-work/asylum-seekers-and-refugees/publications/forgotten-children-national-
inquiry-children.
2                                                  -
American Journal of Orthopsychiatry, Vol. 85, NO. 3, 287-294.
3 American Academy of Pediatrics. (July 24, 2015). Letter to DHS Secretary Johnson. Available at: http://bit.ly/1XXcHXD
4 American Academy of Pediatrics Statement on Executive Order on Family Separation, June 20, 2018, https://www.aap.org/en-us/about-the-

aap/aap-press-room/Pages/AAP-Statement-on-Executive-Order-on-Family-Separation.aspx
5 https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.aspx?NewsID=23245&LangID=E
6

https://www.ama-assn.org/ama-adopts-new-policies-improve-health-immigrants-and-refugees

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ignores the need to address the root causes of the violence in the countries that these families are
fleeing. Former Secretary of Homeland Security Jeh Johnson recently stated, so long as the powerful

States will continue to wrestle with the problem of migration on the border.7

The proposed rule to allow new DHS licensing schemes would subject children to harmful
detention conditions in facilities not licensed for children.

Under the proposed rule DHS would be able to detain children in facilities that are not licensed by
state child welfare agencies. Rather, a third party employed by DHS would ensure compliance with

immigration detention facilities has been documented to be inadequate and harmful for children.
The horrific conditions of past family detention facilities such as the Don Hutto facility in Texas
caused the federal government to close the facility in 2009 due to dangerously inadequate conditions
for children.8 The Berks County facility in Pennsylvania refused to renew their child care licensing
and consequently children who have been detained for more than a year are exposed to poor
medical conditions and have been reportedly suicidal due to the conditions of such prolonged
detention. 9


alert regarding the conditions for immigrant detainees at the Adelanto ICE Processing Center in
California.10 Inadequate medical care, inappropriate use of solitary confinement, and serious issues

Advisory Committee on Family Residential Centers (ACFRC) issued as its first recommendation
that ICE should discontinue the practice of family detention. 11 12 It would be dangerous and
misguided to allow DHS to certify its own standards for facilities that detain children.

The proposed rule would have a devastating impact on unaccompanied children and their
access to humanitarian protections.

The proposed rule allows for ICE to re-determine whether someone who has previously been
designated as an Unaccompanied Alien Child (UAC), meets the definition each time they come into
contact with them. This adds a continuous level of uncertainty and fear for UACs and increases the
burden of proof for children and youth who have already experienced significant trauma in their life.
The Trafficking Victims Protection Reauthorization Act (TVPRA) sets the standards for caring for
UACs and recognizes the vulnerability of children fleeing violence and persecution. A one-time

7Jeh  Charles Johnson, Washington Post                  -                                      -American, and ineffec
2018, https://www.washingtonpost.com/opinions/trumps-zero-tolerance-border-policy-is-immoral-un-american--and-
ineffective/2018/06/18/efc4c514-732d-11e8-b4b7-308400242c2e_story.html?utm_term=.1cee2d9e23e5
8 https://www.aclu.org/news/dhs-plan-improve-immigration-detention-and-close-hutto-facility-good-first-

step?redirect=cpredirect/40612
9 http://www.post-gazette.com/news/politics-nation/2018/07/09/Berks-county-residential-center-asylum-seekers-could-become-

model-mass-family-detention/stories/201807070078
10 https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-86-Sep18.pdf
11Immigration and Customs Enforcement, Advisory Committee on Family Residential Centers (ACFRC), Report on the DHS Advisory

Committee on Family Residential Centers, October 7, 2016, https://www.ice.gov/sites/default/files/documents/Report/2016/ACFRC-sc-
16093.pdf
12 American Psychological Association, Joint Letter Opposing Family Detention Expansion, September 14, 2018

file:///Users/kristentorres/Downloads/APA-Joint-Letter-Opposing-Family-Detention-Expansion-09142018%20(1).pdf

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Additionally, a new definition proposes that when a minor reaches the age of 18 and a parent or
legal guardian is the U.S. is available to provide care and physical custody for such an alien they are
no longer eligible for the protections. The fact that a UAC may once be deemed as unaccompanied
and then lose this status is concerning regardless of the changing circumstances. Any removal of
protections for vulnerable children will result in government sanctioned harm by forcing such youth
to continuously relive their traumatic life experiences. The proposed rule could also strip children
and youth of critical access to legal counsel and social services dedicated for unaccompanied alien
children. By stripping the minimal protections afforded to children and forcing them to defend the
rights afforded to them by the TVPRA, their safety, well-being, and ability to meaningfully
participate in immigration proceedings are severely undermined.

                                                                                            to
segregate unaccompanied minors from unrelated adults while being detained. This addition reduces
the absolute requirement of the provision and allows for opportunities for DHS to bypass this
requirement. The proposed rule also adds an exception to the segregation of unaccompanied
                               in the case of an emergency or other exigent circumstances
allow for UACs to be housed with unrelated adults for extended periods of more than 24 hours if
DHS determines the circumstances to be emergent or pressing.

The proposed rule will reduce standards of care and custody of both accompanied and
unaccompanied children.


which are li          circumstances that impact the placement of minors within the proper time frame
broader definition would add that emergencies may also be deemed for circumstances which also
delay compliance with other provisions such as the inability to give meals to children on schedule.
This is problematic and concerning as it is an opportunity for DHS and HHS to excuse non-
compliance of FSA provisions that provide time limitations currently set for transferring children
out of DHS custody. This would expose more children to longer periods of time in dangerous
conditions in DHS custody. Broadening this definition would also allow for more opportunities for
the government to ignore standards of care include in the FSA.

Sincerely,




Bruce Lesley
President




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                                                                                            November 6, 2018

    Submitted online: https://www.regulations.gov

    Re: DHS Docket No. ICEB-2018-0002, Comments in Response to Proposed Rulemaking




                                                 LIRS Comment

        I.      Introduction


    For decades, LIRS has been committed to providing direct services and advocating on behalf of
    unaccompanied migrant children and accompanied children and their families throughout the
    United States. The children we support have fled war, civil conflict, persecution, trafficking,
    extreme poverty, or maltreatment. LIRS oversees programs that provide long and short-term
    foster care, family reunification services, and post release services. Our services our trauma
    informed and designed to help children recover from the multiple hardships and traumas they
    experience from the time they spent in their home countries, throughout their journey to the
    United States and once they enter the United States.

    During the April-June 2018 family separation crisis LIRS was directly involved in providing
    support for family reunification. We helped coordinate travel arrangements and worked with 37
    partners in 33 states to provide support to separated families once they arrived at their final
    destinations. 450 parents and children received temporary housing, food and care immediately
                                                     diate care and counseling to 148 children who
                                            1
                                             . Throughout the process we closely monitored each
    case to make sure that families had adequate resources and support to provide a safe and
    loving environment for their children.

            subject-matter expertise and experiences derived from serving the needs of
    accompanied and unaccompanied migrant children and their families make us uniquely situated
    to evaluate and comment on the Department of Homeland Security (DHS) and Department of
    Health and Human Services (HHS) proposed changes to the Flores Settlement Agreement
    (FSA) that was published in the Federal Register on September 7, 20182, Notice of Proposed
                                                                         of Alien Minors and
    Unaccompanied Alien Children                                            .



    1
      The United States council of Catholic Bishops/Migration and Refugee Service and Lutheran Immigration and
    Refugee Service.
    Promote Family Unity. (Online at: https://www.lirs.org/wp-content/uploads/2018/10/Serving-Separated-and-
    Reunited-Families_Final-Report-10.16.18-updated.pdf).
    2
       Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children 83 Fed. Reg.
    45484 (September 7, 2018).




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 Per the written terms of the FSA, any superseding rule and/or legislation must adhere to the
 protections that are afforded children under the FSA3. We agree with

 respect, and special concern for their particular vulnerability as minors However, in this
 comment we identify ways in which the proposed ru
 dignity and vulnerability are protected and explain how it deviates from FSA by weakening child
 protection standards, causing more harmful outcomes than good.


                                                   Alternatively, we strongly believe that detention is
 not in the best interest of the child. In this regard, we support retaining the Flores Settlement
 Agreement (FSA) because it offers the best set of child protection standards. We would like to
 see these standards strengthened not weakened.

 Proposed 8 CFR § 236.3(b)(9) Alternative Federal Licensing Scheme

 Ensuring that children are placed in non-secure facilities that are licensed and able to provide
 children with adequate food, medical care and education are some of the key protections that
 the FSA affords unaccompanied and accompanied children. LIRS is concerned with the

 government to detain children and their families for longer periods of time in states where FRC
 do not meet state licensing requirements. Not only does the proposed rule allow DHS to create
 its own detention facilities so that it can detain children longer, it also gives DHS the authority to
 hire outside contractors to inspect the detention facilities.

 By seeking to detain children and their families for extended periods of time, the proposed rule
 materially alters the FSA and defies decisions reached in the U.S. District Court for the Central
 District of California. The FSA is clear, states must license facilities that house both adults and
 children. Moreover, a U.S. District Court Judge for the Central District of California ruled that

 simply means that, under the Agreement, class members cannot be housed in these facilities
 except as permitted by the Agreement 4.

 LIRS advises against the                                      because it will imperil children in
 a myriad of ways. Case in point, there have been recent instances where detained children
 have reportedly received poor food and medical treatment and experienced psychological,
 physical and sexual abuses. Correspondingly, there is no evidence proffered by the
 government to indicate that detention conditions have improved. Physicians from the American
 Medical Association (AMA) have recently observed that detention facilities are not a safe
 environment for children and state that:




 3
   Flores Settlement Agreement (FSA), Flores et al. v. Reno, et. al., Case No. CV 85-4544 (C.D. Cal., Jan. 1, 1997)
 (Online at: https://cliniclegal.org/sites/default/files/attachments/flores_v._reno_settlement_agreement_1.pdf)
 4
   Order on Motion to Enforce at 12-13, Flores, et al. v. Johnson, et al., cv-85-4544 (C.D. Cal. July 24, 2015); Order on
 Motion to Enforce at 29, Flores, et al. v. Sessions, et al., cv 85-4544 (C.D. Cal. June 27, 2017)




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          [p]hysicians believe that detention centers used by the U.S. Immigration and Customs
         Enforcement (ICE) have failed to prevent human rights abuses and substandard living
         conditions, and they provide inconsistent access to quality medical care5.

 Indeed, the ultimate reason we have the FSA is because an unaccompanied 15 year old girl
 from El Salvador, Jenny Lissette Flores, was placed into a mixed sex detention facility with
 adults where she was regularly strip searched and mistreated6. The FSA provisions are
 designed to ensure that children, like Jenny Flores, are not harmed in detention and this has
 been partially accomplished by having detention facilities comply with child welfare standards
 and allow for independent inspections at detention facilities.

 Looking to the FSA Paragraph 6                                                       lfare agency,
 an entity that can fully ensure that the go                                               Under
 the proposed rule, DHS will not only run its own family residential detention centers, it will be
 allowed to hire an outside entity to monitor its FRCs. How can an outside entity, employed by
 the government,
 capability to engage in effective oversight? Or as the AMA highlights in the following statement:

          Data demonstrates that substandard medical care in immigrant detention facilities has
         led to preventable deaths, yet deficient inspections by ICE Office of Detention Oversight

         steps to urge that immigrant detention facilities achieve full compliance with the
         meaningful standards set by the National Commission on Correctional Health Care7

 The importance of having a knowledgeable and independent entity inspect and certify detention
 facilities is brought to light by                  s. The Nakamoto Group Inc., serves an

 In a 2018 report by the Office of Inspector General, the OIG called into question thoroughness
                            oversight and cited an ICE official who called into question
 inspections and referred to them as ineffective8.

 According to the OIG report, inspections are not conducted on a regular basis and are limited in
 scope which has led to important concerns being overlooked9. In cases where violations have
 been disclosed to inspectors,
 deficiencies remain unaddressed for years10 This is extremely disturbing, considering that


 5
   American Medical Association. June 12, 2017. AMA Adopts New Policies to Improve Health of Immigrants and
 Refugees. (Online at: https://www.ama-assn.org/ama-adopts-new-policies-improve-health-immigrants-and-
 refugees)
 6
   Rebeca M. López, Codifying the Flores Settlement Agreement: Seeking to Protect Immigrant Children in U.S.
 Custody, 95 Marq. L. Rev. 1635 (2012).
 7
  Supra note 6.
 8
   Department of Homeland Security Office of Inspector General. June 26, 2018.
 Detention Facilities do not Lead to Sustained Compliance or Systemic Improvements. (OIG-18-67) (Online at:
 https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf)
 9
   Id.
 10
    Id at 4.




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 some of the violations that were ignored for years included sexual assault and unfounded strip
 searches11.

                                        related to negligent oversight practices, it currently cannot
 guarantee that it has the capability to provide oversight to existing detention facilities; and we
 are concerned that the government will not be able to provide oversight to any new facilities as
 the rule proposes. What is certain is that through this proposed rule,
 attempt to create an alternative licensing scheme, more children and their
 imperiled. Deviating from child welfare licensing protections and creating an alternative
 licensing scheme constitutes an undoing of the FSA and serves no legitimate purpose.

 Proposed 8 CFR 236.3(h)-Detention of Family Units

 LIRS is very concerned with what we see as                                        the detention of

 (FRC ).
 families:

                                                      hould operationalize the presumption that
         detention is generally neither appropriate nor necessary for families and that detention
         or the separation of families for the purposes of immigration enforcement or
         management are never in the best interest of chi
         Residential Centers12

 Under the terms of the FSA, the government is not permitted to detain children for over 20-days.
 By seeking to detain families for long periods of time the proposed rule is in violation of the the
 material provisions and spirit of the FSA. Detention is never in the best interests of the child.
                                       long-standing principle of the American legal system that
 recognizes that we have a moral obligation to tailor our laws in a manner that affords special
 protection to children because of their vulnerable status. LIRS asks the government to forego
 its attempts at terminating the FSA, and to continue implementing the FSA in order protect
 children from harm not place them

 The DHS maintains in 8 CFR 236.3(h) that family detention is amenable way to keep families
 together. LIRS vehemently disagrees and suggests that the best way to keep families together
 is to allow them to be released into the community. This approach also aligns with the intention
 of the FSA, which is to ensure that children are kept out of detention, but that, if they are
                                                           Efforts to detain children are cruel,
 unnecessary and costly to taxpayers. DHS should                                    discontinue the
 general use of family detention, reserving it for rare cases when necessary following an




 11
   Id. at 13.
 12
   Department of Homeland Security; Immigration and Customs Enforcement. Report of the ICE Advisory
 Committee on Family Residential Centers. (Online at:
 https://www.ice.gov/sites/default/files/documents/Report/2016/acfrc-report-final-102016.pdf)




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 individualized assessment of the need to detain because of danger or flight risk that cannot be
 mitigated by conditions of release13.

 All forms of detention are harmful to children

 The American Medical Association (AMA), American Psychiatric Association (APA), American
 Academy of Pediatrics (AAP), and American College of Physicians (ACP) stand in agreement
 with the fact that children should not be detained because it is detrimental to their physical
 health and mental well-being. The AAP, for instance, has concluded that short or long-term
 detention                                                                  -being14. Whereas,
 the ACP has issued the following statement:


          ACP believes that forced family detention indefinitely holding children and their parents,
         or children and their other primary adult family caregivers, in government detention centers until
                                                     can be expected to result in considerable
         adverse harm to the detained children and other family members that may follow them
         through their entire lives, and accordingly should not be implemented by the U.S.
         government15.


 Even the                                    , like all major medical associations in the United
 States, have independently reached the same conclusion- that detaining children is harmful16. In
 a poignant and scathing rebuke to family detention, Dr. Scott Allen and Dr.Pamela McPherson
 stated the following:

          In our professional opinion, there is no amount of programming that can
         ameliorate the harms created by the very act of confining children to detention centers.
         Detention of innocent children should never occur in a civilized society, especially if
         there are less restrictive options, because the risk of harm to children simply cannot be
         justified17.

 With all the available information in the public domain and the weight of government and top
 medical experts in the United States speaking out against detaining children, we urge you to


 13
    Id. at 5.
 14
    Linton, J. MD et al. 2017. Detention of Immigrant Children. Pediatrics. 139(4). (Online at:
 http://pediatrics.aappublications.org/content/pediatrics/139/5/e20170483.full.pdf)
 15
     American College of Physicians. July 5, 2018. ACP Says Family Detention Harms the Health of Children, Other
 Family Members. (Online at: https://www.acponline.org/acp-newsroom/acp-says-family-detention-harms-the-
 health-of-children-other-family-members)
 16
                                Whilstle-Blowers Say Detaining Migrant Families                            New York
 Times. (Online at: https://www.nytimes.com/2018/07/18/us/migrant-children-family-detention-doctors.html); Dr.
 Allen and Dr. McPherson letter (online at:
 https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Disclosure%20SWC.pdf)
 17
    Dr. Allen and Dr. McPherson letter (online at:
 https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Disclosure%20SWC.pdf)




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 take heed and put the needs of children first. More to the point, it is not an  or a        -
 medical experts concur with the fact that the consequences of family detention on children will
 definitely lead to life-long physical and mental ailments.

 If implemented in its current form, the proposed rule will remove child protection standards that
 the FSA guarantees, and allow for children to be detained indefinitely,       lternative licensed
 facilities. Even with the current child protection provisions under the FSA, the Department of
 Homeland Security Office of Inspector General has reported on the substandard conditions of
 ICE detention18.

 There are human consequences that result from harmful detention conditions. May we remind
 you of the recent death of little Mariee Juárez. Just 18 months old, Mariee lost her life due to a
 respiratory infection that she developed from the poor sanitary conditions and substandard
 medical treatment she received while in ICE detention in Dilley, Texas19. According to the
 attorne                                              Juárez, "[t]he conditions at Dilley were
 unsanitary, unsafe and inappropriate for any small child 20."
 many reasons. Like the fact that her suffering and ultimate loss of life did not result in a
 compassionate response from the government, but rather a doubling down on efforts to detain
                                                                                        not be the last,
 other little girls, boys, mothers and fathers will face similar and even greater risks without the
 protection of the FSA.

 DHS makes two arguments in support of family detention. First, that family detention is
 necessary to ensure that migrants comply with our immigration laws and do not abscond.
 Second, that it is easier for families to pursue asylum if they are detained together. There is no
                                                s that family detention correlates with immigration
 compliance and that preparing asylum claims are easier in detention. In fact, there is
 overwhelming evidence that the opposite is true, that it is more difficult for asylees to prepare
 their asylum claims while detained.

 As lawyers from the American Immigration Council (AIC) explain, detained                 immigration
 cases face a myriad of obstacles. One, it is often difficult for detainees to obtain legal
 representation because detention facilities are located in remote areas. Two, detained
 immigrants do not have the ability to make regular phone calls while in detention and therefore
                                                    . Three, it is more difficult for detained
 migrants to collect the necessary documents and evidence they need to support their asylum




 18
    Supra notes 13 and 17. Department of Homeland Security Office of Inspector General. Management Alert
 Issues Requiring Action at the Adelanto ICE Processing Center in Adelanto, California. September 27, 2018.OIG-18-
 86. (Online at: https://www.oig.dhs.gov/sites/default/files/assets/2018-10/OIG-18-86-Sep18.pdf).
 19

              Arizona Republic. (Online at:
 https://www.azcentral.com/story/news/politics/immigration/2018/08/28/mariee-juarez-dies-after-leaving-
 detention-center-family-sues-eloy/1126840002/).
 20
                                                                                         NPR. (Online at:
 https://www.npr.org/2018/08/28/642738732/a-toddlers-death-adds-to-concerns-about-migrant-detention).




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 claims. However, when migrants are not detained the AIC finds that they are compliant with our
 immigration laws and wage successful asylum claims:

           [o]f family members with completed asylum cases 92% had appeared for all their court
         hearings. Finally, this appearance rate was even higher when asylum applicants had
         counsel: among completed cases, 94 percent of released family members with counsel
         in their asylum case attended all their court hearings21.


 Alternative Forms of Detention: Less Expensive, Proven to be Effective

 We urge the government to consider community-based alternatives to detention which are more
 humane, more effective and less expensive approach to incarcerating families. Specifically,
 LIRS would like to see the government reinstate the successful Family Case Management
 Program that the administration terminated in June 2017.


 The FCMP ran from January 2016 and June 2017 and surprisingly, it was terminated without
 justifiable cause. The administration cancelled FCMP despite that it was a proven success and
 cost effective. Or as reflected by the following facts:

          99.3% attend their immigration court hearings
          99.4% attend their appointments with ICE22


                        posed rule solely focuses on detention as a punitive measure for asylees
 which is misguided, goes against U.S. and international human rights and asylum law, and
 reverses the child protection standards contained in the FSA. In addition to the breaches of law
 and human costs of detention that we have thus far identified, there are financial costs to

 each day per family unit. By contrast, ICE family detention costs nearly $320 per person each
 day23.

                                                     understand first-hand that one of the
 challenges migrants face when they enter the United States is navigating through our complex
 legal system. There is no evidence to
                                                                          living underground.
 Statistics gathered from the FCMP pilot indicates that with community-based support and legal


 21
    Ingrid Eagly, Esq., Steven Shafer, Esq. and Jana Whalley, Esq. August 16, 2018. Detaining Families: A Study of
 Asylum Adjudication in Family Detention. American Immigration Council.
 https://www.americanimmigrationcouncil.org/sites/default/files/research/detaining_families_a_study_of_asylum
 _adjudication_in_family_detention_final.pdf
 22
                                                                                     am. (online at:
 https://www.womensrefugeecommission.org/rights/resources/1653-family-case-management-program last
 accessed November 1, 2018).
 23
    Id.




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 services, migrant children and their families better understand their legal obligations in the
 United States and are eager to comply. Overall, the high rate of immigration compliance for
 migrants participating in the FCMP strongly suggest that migrants, like the government, prefer
 lawful pathways to staying in the United States.

 LIRS would like to see the government direct its energy and government resources towards
 efforts that assist children and their families with understanding their legal rights in the country
 and helping migrants access attorneys. We are a nation that prides itself in setting the global
 standards for the rule of law and this role comes with responsibilities. As outlined in this section,
 the FCMP is a more humane, successful, and cost-effective solution to ensure that law abiding



 Conclusion and Recommendations

 Paragraph 9 of the FSA states that the final Flores                  not be inconsistent with this
             24
               . However, LIRS finds that the proposed rule is inconsistent with child welfare
 protections that are contained within the FSA and therefore recommend that the DHS and
 HHS                 le not be implemented. Moreover, the FSA asks that the government treat

 as minors25 LIRS has highlighted in this comment that children will be more vulnerable under
 the terms of the proposed rule. We are deeply concerned with the fact that the rule seeks to
 detain children and their families throughout their immigration court proceedings, a process
 which can take years. When considering our experiences working with children, the prevailing
 consensus amongst medical experts, which is that detention is harmful to children, we cannot
 support this rule because it seeks to undo child protection standards and will put children in
 danger.

        1. LIRS would like for the FSA to be retained and not altered by DHS and HHS proposed
           rule.
           and instead seeks to strip away FSA child protection standards that are designed to
           keep children safe under our care.

        2. Instead of creating an alternative federal license to indefinitely detain families, LIRS
           recommends that the government reinstate the Family Case Management Program
           because it has been proven to be successful and cost efficient.


        3. LIRS believes that sacrificing the children
           more efforts should be made to ensure that children kept out of detention are held in the
           least restrictive setting.




 24
      FSA. Paragraph 9.
 25
      Id.




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                     1201 16th St., N.W. | Washington, DC 20036 | Phone: (202) 833-4000          Lily Eskelsen García
                                                                                                 President

                                                                                                 Rebecca S. Pringle
                                                                                                 Vice President

                                                                                                 Princess R. Moss
                                                                                                 Secretary-Treasurer

                                                                                                 John C. Stocks
                                                                                                 Executive Director



  October 23, 2018


  Sent via Electronic Submission at https://www.regulations.gov

  Debbie Seguin, Assistant Director
  Office of Policy, U.S. Immigration and Customs Enforcement
  Department of Homeland Security
  500 12th Street, S.W.
  Washington, DC 20536


  RE          DHS Docket No. ICEB-2018-0002 Apprehension, Processing, Care, and Custody of
              Alien Minors and Unaccompanied Alien Children (RIN 1653-AA75, 0970-AC42)
  Dear Ms. Seguin:
           The National Education Association (“NEA”) appreciates the opportunity to comment on
  the notice by the Department of Homeland Security (“DHS”) and the Department of Health and
  Human Services (“HHS”) (together, the “Departments”) of their proposed amendments to
  regulations relating to the apprehension, processing, care, custody, and release of alien juveniles
  (the “proposed rule”). The proposed rule is intended to terminate the 1997 Flores Settlement
  Agreement, as amended in 2001, (“FSA”), and introduce new regulations that are more likely to
  result in the indefinite detention of immigrant children and negatively impact their access to
  education. Such regulations are plainly “inconsistent” with the FSA’s mandate to favor the
  release of children from government custody, and thus cannot serve as a valid basis to terminate
  the FSA. 1 NEA condemns the indefinite detention of immigrant children and families and
  respectfully opposes the proposed rule.
         The Flores parties reached the FSA through their shared belief in the “particular
  vulnerability” of children. 2 That is why the FSA has a strong presumption in favor of releasing

  1
    Flores v. Reno Settlement Agreement (1997) ¶ 9 (“The final regulations shall not be inconsistent with the terms of
  this Agreement.”).
  2
      Id. at ¶ 11.

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 immigrant children to a parent, legal guardian, family member, or other adult as authorized by a
 parent or legal guardian 3 or, when no such adult can be identified, to a state-licensed program
 that, at a minimum, complies “with all applicable state child welfare laws” and provides
 “[e]ducational services appropriate to the minor’s level of development . . . in a structured
 classroom setting.” 4
        NEA’s more than three million members—comprised of teachers, school nurses,
 counselors, and education support professionals—know well the particular vulnerability of
 children and believe that an education is essential to advancing the worth, dignity, and equality
 of every child. Both experts and NEA’s members also know that children are best equipped to
 succeed academically when they live in a stable home with an adult they trust and learn in a
 normal, structured and supportive classroom. 5
         But when children are in an unstable environment or when parents or other caregivers are
 unable to act as providers for their children, their education suffers. For example, children
 placed in temporary living facilities such as shelters, children experiencing homelessness, and
 children in foster care or separated from a parent all face significantly higher barriers to
 learning. 6 The proposed rule will deprive more children of the opportunity to reach their full
 developmental and academic potential by restricting their release to trusted caregivers and their
 access to schools with supportive norms and structures. Instead, the Departments seek to keep
 them in indefinite detention without adequate services and protections.
         Despite purporting to “implement” the FSA, the Departments have proposed a rule that
 completely strips the FSA of its policy “favoring release” of children from government custody
 by limiting the types of sponsors with whom children can be placed. 7 The proposed rule also
 significantly increases the possibility that more children will be placed in “indefinite detention in
 unlicensed facilities” 8 by (1) introducing a federal licensing scheme administrated by U.S.
 Immigration and Customs Enforcement (“ICE”) that may not provide the same protections and


 3
     Id. at ¶¶ 11, 14, & 18.
 4
     Exhibit 1 to Flores v. Reno Settlement Agreement (1997) (“Minimum Standards for State Licensed Programs”).
 5
  See American Academy of Pediatrics Committee on Early Childhood, Adoption and Dependent Care,
 Developmental Issues for Young Children in Foster Care, 106(5) PEDIATRICS 1145, 1146 (2000); 1 J. BOWLBY,
 ATTACHMENT AND LOSS: ATTACHMENT (Basic 1969); NATIONAL RESEARCH COUNCIL INSTITUTE OF MEDICINE,
 FROM NEURONS TO NEIGHBORHOODS: THE SCIENCE OF EARLY CHILDHOOD DEVELOPMENT (J.P. Shonkoff & D.A.
 Phillips eds., 2000).
 6
   See, e.g., Press Release, U.S. Department of Education, Education Department Releases Guidance on Homeless
 Children and Youth (Jul. 27, 2016), available at https://www.ed.gov/news/press-releases/education-department-
 releases-guidance-homeless-children-and-youth; U.S. Dep’t of Educ. & U.S. Dep’t of Health and Human Servs.,
 Dear Colleague Letter: Elementary and Secondary Education Act (June 23, 2016), available at
 https://www2.ed.gov/policy/elsec/leg/essa/edhhsfostercaredcl.pdf.
 7
  Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg.
 45486, 45502 & 45528 (Proposed Sept. 7, 2018) (to be codified at 8 C.F.R. 236.3(j)).
 8
  See Flores, et al. v. Sessions, et al., Case No. CV 85-4544, Dkt. No. 455, 4 (C.D. Cal. Jul. 9, 2018) (emphasis in
 original).

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 services as state-licensed facilities, 9 and (2) expanding the types of “emergencies” that suspend
 the Departments’ obligations to place children in non-secure, licensed facilities. 10
          Whether a child is placed in an ICE-licensed or an unlicensed detention facility,
 educational development will suffer. It is well documented that long-term detention of any form,
 even accompanied by a parent, is traumatic and will have lasting negative effects on learning and
 development. 11 Children react to detention with extreme distress, fear, and helplessness, all of
 which can lead to various physiological and psychological harms and ultimately result in a
 deterioration of functioning. 12 Children studied in immigration detention facilities in Australia,
 the United Kingdom, and the United States show consistent patterns of physiological harms,
 including disruptive conduct, bed wetting, and sleep disturbances such as nightmares, night
 terrors, and sleep-walking. 13 Psychological symptoms observed in detained children include
 severe depression, PTSD, psychotic disorders, deliberate self-harm and suicidal behavior, and
 acute anxiety about delays in their own educational development. 14 And smaller children are the
 most vulnerable, often displaying regression in language development, social withdrawal,
 impaired cognitive development, and other developmental delays. 15 These negative
 physiological and psychological outcomes affect broad areas of functioning, and are likely to
 significantly, and even permanently, impair the ability to learn. 16




 9
  Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg.
 45486, 45525 (Proposed Sept. 7, 2018) (to be codified at 8 C.F.R. 263.3(b)(9) & (b)(11)).
 10
   Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg.
 45486, 45496, 45525, & 44429-30 (Proposed Sept. 7, 2018) (to be codified at 8 C.F.R. 236.3(b)(5) & 45 C.F.R.
 410.101, 202).
 11
   A. Lorek et al., The Mental and Physical Health Difficulties of Children Held Within a British Immigration
 Detention Center: A Pilot Study, 33(9) CHILD ABUSE & NEGL. 573 (2009); R. Kronick et al. Asylum-seeking
 Children’s Experiences of Detention in Canada: A Qualitative Study, 85(3) AM. J. ORTHOPSYCHIATRY 287 (2015);
 S. Mares & J. Jureidini, Psychiatric Assessment of Children and Families in Immigration Detention: Clinical,
 Administrative and Ethical Issues, 28(6) AUSTL. & N.Z. J. PUB. HEALTH 520 (2004); M. Dudley et al., Children and
 Young People in Immigration Detention, 25(4) CURRENT OP. IN PSYCHIATRY 285 (2012).
 12
    R. Kronick et al. Asylum-seeking Children’s Experiences of Detention in Canada: A Qualitative Study, 85(3) AM.
 J. ORTHOPSYCHIATRY 287 (2015).
 13
   K. Robjant et al., Mental Health Implications of Detaining Asylum Seekers: Systematic Review, 194(4) BRIT. J. OF
 PSYCHIATRY 306 (2009).
 14
      Id.
 15
   K. Robjant et al., Mental Health Implications of Detaining Asylum Seekers: Systematic Review, 194(4) BRIT. J. OF
 PSYCHIATRY 306 (2009); M. Dudley et al., Children and Young People in Immigration Detention, 25(4) CURRENT
 OP. IN PSYCHIATRY 285 (2012).
 16
   See, e.g., American Academy of Pediatrics, Policy Statement on Early Childhood Adversity, Toxic Stress, and the
 Role of the Pediatrician: Translating Developmental Science Into Lifelong Health, 129 PEDIATRICS e224, e225
 (2012); National Scientific Council on the Developing Child, Center on the Developing Child at Harvard U.,
 Persistent Fear and Anxiety Can Affect Young Children’s Learning and Development: Working Paper No. 9 (2010),
 http://www.developingchild.net.

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         Indefinite detention is never appropriate for children and will have a profoundly
 damaging effect on their educational development. 17 What is more, the proposed rule does not
 even address how the Departments intend to provide “[e]ducational services appropriate to the
 minor’s level of development . . . in a structured classroom setting”, as is currently required
 under the FSA. And in unlicensed “emergency” or “influx” facilities, the Departments may opt
 to provide no educational services at all. 18 In short, the Departments’ proposed rule will keep
 more children in government custody, contrary to the FSA’s policy favoring release, and
 provides no assurance that detention facilities will even comply with the FSA’s “minimum
 standards” for educational services.
         NEA believes that all children deserve the best chance to learn and succeed. We all
 suffer when we do not invest in the education and development of our children. The parties to
 the FSA created a policy favoring children’s release from government custody and providing for
 access to education. The proposed rule is inconsistent with, and undermines the purposes of, the
 FSA. The proposed rule must be withdrawn in favor of regulations consistent with the FSA.


                                               Sincerely,

                                               /s/
                                               Alice O’Brien
                                               General Counsel
                                               National Education Association

                                               /s/
                                               Emma Leheny
                                               Senior Counsel
                                               National Education Association

                                               /s/
                                               Gypsy Moore
                                               Civil Rights Law Fellow
                                               National Education Association



 17
   See U.S. Department of Homeland Security Advisory Committee on Family Residential Centers, Report of the
 ICE Advisory Committee on Family Residential Centers (Oct. 7, 2016),
 https://www.ice.gov/sites/default/files/documents/Report/2016/acfrc-report-final-102016.pdf (“detention is
 generally neither appropriate nor necessary for families”).
 18
   See Office of Refugee Resettlement, ORR Guide: Children Entering the United States Unaccompanied, Section
 1.7 Placement and Operations During an Influx (Mar. 21, 2016), https://www.acf.hhs.gov/orr/resource/children-
 entering-the-united-states-unaccompanied-section-1#1.7 (“To the extent practicable, non-State licensed HPCs and
 Influx Care Facilities are encouraged to provide . . . [e]ducational services”.); see also Caitlin Dickerson, Migrant
 Children Moved Under Cover of Darkness to a Texas Tent City, N.Y. TIMES (Sept. 30, 2018),
 https://www.nytimes.com/2018/09/30/us/migrant-children-tent-city-texas.html.

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                                                           P      (512) 370-1506                         -8659    txpeds.org



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                                       November 6, 2018
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Clayton Travis, MSSW
(512) 370.1516
                                       Washington, DC 20536
clayton.travis@txpeds.org
Member Services Manager                Re: DHS Docket No. ICEB-2018-0002, RIN 0970-AC42 1653-AA75, Proposed Rulemaking:
Crystal Healey, CAE                    Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien
(512) 370.1517
crystal.healey@txpeds.org              Children
Public Health Education Manager
Kellie Dees                            Dear Ms. Seguin:
(512) 370.1509
kellie.dees@txpeds.org
                                       The 4,100 members of the Texas Pediatric Society (TPS), the Texas Chapter of the
2018 - 2019 Officers                   American Academy of Pediatrics, appreciates the opportunity to offer comments on the
President
Ben G. Raimer, MD                                                             ) Notice of Proposed Rulemaking:
President-Elect                        Apprehension, Processing, Care and Custody of Alien Minors and Unaccompanied Alien
Tammy Camp, MD                         Children (DHs Docket No. ICEB-2018-0002).
Immediate Past President
Dennis A. Conrad, MD
                                       TPS
Chapter Chair
Kimberly Avila Edwards, MD             emotional, and social health. Using this guiding principle, we find the Proposed Rule
Alternate Chapter Chair                extremely problematic and in direct contradiction to promoting the health and
Mark A. Ward, MD                       wellbeing of children in our state and across the nation. In the most basic sense, the
Secretary-Treasurer
Seth Kaplan, MD
                                       Proposed Rule is inconsistent with the spirit and technical requirements of the Flores
TMA Delegate
                                       Settlement Agreement (FSA) which set out to protect immigrant children. Thus, DHS
Ryan Van Ramshorst, MD                 should rescind the Proposed Rule and instead work within the requirements of the FSA
Alt. TMA Delegate                      to do what is in the best interest of every child and immigrant family.
Charleta Guillory, MD
Region Chairs
Anu Partap, MD - North
                                       No Child Should Ever be Detained.
Susan Wootton, MD - East
Lori Anderson, MD South/Central        The detention of children in facilities subject to this Proposed Rule is inherently
Lara Johnson, MD West
                                       traumatizing and can lead to negative long-term physical and mental health
Member-at-Large
Rebecca Huston, MD                     consequences.1 The FSA recognizes this and puts strict limits on the detention,
Valerie Smith, MD                      treatment and release of all minors detained in the legal custody of the United States.
Member-at-Large                        The most important limit is ensuring children are held in the least restrictive setting,
Department/Resident Head
Robert Nelson, MD
                                       which is never a detention facility regardless of whether they are accompanied or
Early Career Physician
                                       unaccompanied. The FSA instructs that children be released without any unnecessary
Representative                         delay to a parent, legal guardian, adult relative, designate of the parent or others.2 It is
Marjan Linnell, MD                     the role of DHS to implement this requirement via regulation in the most faithful and
Resident Representative
                                       technically accurate way possible. The allowances in the Proposed Rule outlined below
Emily Hopkins, MD
                                       are not faithful to the FSA and could put the health and wellbeing of children at risk.
Alt. Resident Representative
Ohmed Khilji, MD
Medical Student Representative
Alyssa Wilson                          1 Julie M. Linton, Marsha Griffin, Alan Shapiro, American Academy of Pediatrics, Policy
Alt. Medical Student Representative    Statement: Detention of Immigrant Children, Apr. 2017,
Katie Higgins                          http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483.
                                       2 The Flores Settlement Agreement, case no. CV 85-4544-RJK(Px), 1996
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Alternative Federal Licensing of FRCs Does Not Provide Adequate Protection for Children.

The Proposed Rule envisions a separate and alternate form of federal licensing for Family Residential Centers
(FRCs) by Immigration and Customs Enforcement (ICE). This proposed scheme is in direct contradiction to the FSA,
which requires minors in the custody of DHS to be held in facilities that are state licensed for the care of
dependent minors. State licensure of facilities where children are being held for long periods of time has and
should remain the responsibility of states, not that of the federal government. As a result of this responsibility,
states have the licensing and child welfare infrastructure to care for the health and wellbeing of children in its
custody. DHS has no such experience or expertise and there is no evidence that standards created by the
Department would, in any way, protect the unique needs and vulnerabilities of children of all ages and with
various histories of trauma. The true motivation for allowing ICE to promulgate standards for the licensing of FRCs
is stated outright
                                                                        the FSAs core principle that children be held
in the least restrictive setting possible                                                                      , this
result is unacceptable.

The intention to detain children for long periods of time was made apparent in a proposed rulemaking by the
Texas Department of Family and Protective Services (DFPS) in late 2015. With pressure from federal authorities,
DFPS attempted to create a new category of licensing standards for FRCs, exempting them from health and safety
criteria expected of other General Residential Operations. The Texas Pediatric Society along with many other
advocacy organizations submitted comments opposing the proposed rule, citing that offering a licensing category
with inferior standards would put the health and safety of children at risk and prolong their detention.3 Similarly,
the federal Proposed Rule would create a new category of federal licensing for FRCs , undermining the health and
safety of children and prolonging detention, which we continue to oppose.


standards                                                                                               DHS to
                                                                                                                      -
regulate these FRCs.

Detaining Children in FRCs Result in Real and Lasting Damage to their Health and Wellbeing.

The Texas Pediatric Soc
Detention of Immigrant Children which states that DHS detention facilities are not appropriate places for children.


             The crisis of refugee children arriving at our southern border has continued and appears to be
            increasing once again, with some areas in Texas experiencing a 14 to 85% increase in unaccompanied
            minors. They have endured traumatic experiences both prior to and during their perilous journeys which
            have caused significant harm to their health and long-term well-being. Texas Pediatric Society members
            responding to the crisis continue to report concerns with the detention process as well as unmet mental
            health needs.

            The Texas Pediatric Society urgently calls upon agencies in both the state and federal responses to this
            crisis to come together now with the charitable organizations assisting these children. This would enable
            better coordination and collaboration thereby reducing the additional trauma these children are
            experiencing from prolo
            that children should not be subjected to prolonged detention and that they should receive

3 Texas Pediatric Society, Letter to Judge John J. Specia., Dec 13, 2015,
https://txpeds.org/sites/txpeds.org/files/documents/newsletters/tps-comments-on-dfps-detention-center-licensing.pdf

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          developmentally appropriate daily care, medical care, and mental health care which is compassionate
          and responsive to their needs.

TPS stands by this statement today and notes that the Proposed Rule does not address the concerns previously
raised by TPS. In fact, the Proposed Rule would allow for the detention of children longer, possibly indefinite,
periods of time in facilities that do not provide developmentally appropriate medical and mental health care in a
compassionate and responsive manner.

Texas pediatricians affirmed this concern when visiting both the Karnes and Dilley FRCs in December of 2015.
Children being detained suffer from immense trauma, from the violence in their country of origin to the
dangerous journey to the United States in an attempt to seek asylum. Mothers who were interviewed by
pediatricians reported behavioral changes and typical symptoms of acute stress and trauma including clinging,
startling, irritability, and disrupted eating and sleeping in their children. Furthermore, children in these facilities
miss out on crucial opportunities for social interaction and diverse, nurturing life experiences. These opportunities
are highly restricted while under the supervision of FRCs. Additionally, pediatricians noted severe discrepancies
between health and mental health services purported to be offered and that which mothers of children claimed to
have received. Finally, pediatricians found that the intrinsic, prison-like nature of these facilities is antithetical to
the healthy development of children and undermines the ability for mothers and fathers to properly care for and
nurture their child.4

                                                ter experts of the Office of Civil Rights and Civil Liberties affirmed
these findings in their letter to Congress in 2018. They found repeated instances of poor or no medical care which
resulted in the endangerment of children. They concluded that family detention in and of itself is harmful to
children and expansion of its use should not take place.5

Unaccompanied Children Should Maintain their Protected Status throughout the Legal Process

Unaccompanied children (UAC) while in the custody of the federal government have been recognized as a
vulnerable population which need certain protections, including legal services, independent child advocates,
classroom education, health care and case management services. The Propos

these services. Without a reasonable explanation for this change in the Proposed Rule, there is no reason for its


In conclusion, the Proposed Rule is antithetical to the terms outlined in the Flores Settlement Agreement. DHS
should be promulgating rules to further the goals of the Agreement instead of undermining it. To this end, DHS
should more thoroughly investigate the usage of Alternatives to Detention a program that humanely allows
children in family united to reside in the community during their immigration proceedings. The Department would
save tax payers millions of dollars by switching to this low-cost alternative to family detention.6

The pediatricians of Texas urge DHS to rescind the Proposed Rule and instead prioritize the best interests of
children and work to advance policies that protect immigrant families.




4 Joyce Elizabeth Mauk, MD, Testimony on Public Hearing for Karnes County Residential Center, April 13, 2016,
https://www.aap.org/en-us/advocacy-and-policy/state-
advocacy/Documents/Testimony%20on%20GEO%20Detention%20Facility%20Karnes.pdf
5 Letter from Dr. Scott Allen and Dr. Pamela McPherson to the Honorable Charles Grassley and the Honorable Ron Wyden,
July 17, 2018, https://www.wyden.senate.gov/imo/media/doc/Doctors%20Congressional%20Disclosure%20SWC.pdf.
6 GAO, Immigration: Process and Challenges in the Management of Immigration Courts and Alternatives to Detention
Program Report (Washington, D.C., Sept. 18, 2018).

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If you have any questions regarding these comments, please contact Clayton Travis, Director of Advocacy and
Health Policy at Clayton.Travis@txpeds.org or 512-370-1516.

Sincerely,




Ben G. Raimer, MD
President




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                                                                                                           October 24, 2018

                                       COMMENT ON PROPOSED RULE:
         Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied Alien Children

As a concerned citizen, I am disturbed by many aspects of the proposed rule regarding treatment and detention of migrant
children1 and how the changes would harm children, without improving U.S. security. I want to comment specifically on
proposed 8 CFR 236.3 (H) Detention of Family Units

The Flores Settlement Agreement (FSA)2 set out a number of requirements regarding the treatment of children. In recent

Security (DHS) must transfer minors out of detention facilities                          3 As the Government claimed

DHS, on average, would detain minors for 20 days supposedly the general length of time required to complete credible
and reasonable fear processing at that time for migrants in expedited removal that seems to have become the upper
limit for detention of children with their families.

                                                                                                                   This
rule would allow for detention or the pendency of immigration proceedings in order to permit families to be detained
together and parents not be separated from their children. 4 The proposed rule sets no limits on the detention period for
                ICE is unable to estimate how long detention would be extended for some categories of minors and their
accompanying adults in FRCs due to this proposed rule. The average length of stay in the past is not a reliable source for
future projections. 5

Our legal system, and our national conscience, require us to consider the best interests of the child in any legal or policy
decision. This proposed rule, however, does not consider the harmful impacts of detention for any length of time on
children. Experts have determined that one thing is absolutely clear: like separating children from parents, detention of
children is a highly destabilizing, traumatic experience that has long term consequences on child well-being, safety, and
development.6




1 DHS Docket No. ICEB-2018-0002, Document Citation 83 FR 45486.
2 See the full agreement here.
3 Flores v. Lynch, 212 F. Supp. 3d 907 (C.D. Cal. 2015).
4 Federal Register, Vol. 83, No. 174, Friday, September 7, 2018, p. 45493.
5 Federal Register, p. 45518.
6 See AAP Council on Community Pediatrics, Detention of Immigrant Children (2017)


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For example, experts have repeatedly warned about the potentially severe and permanent impacts of both detention and
family separation on children. The American Academy of Pediatrics said in a 2017 policy statement7 that immigrant
children seeking safe haven in the United States should never be placed in detention facilities. According to the AAP,
studies of detained immigrants have shown that children and parents may suffer negative physical and emotional
symptoms from detention, including anxiety, depression and post-traumatic stress disorder. The AAP points out that
detention creates toxic stress in children and adolescents that can profoundly impact their development. Strong scientific
evidence shows that toxic stress disrupts the development of brain architecture and other organ systems, and increases
the risk for stress-related disease and cognitive impairment well into the adult years. 8,9 Studies have shown that children
who experience such traumatic events can suffer from symptoms of anxiety and post-traumatic stress disorder, have
poorer behavioral and educational outcomes, and experience higher rates of poverty and food insecurity.

For these reasons, the Immigration and Customs Enforcement Advisory Committee on Family Residential Centers noted
that detention or the separation of families for purposes of immigration enforcement or management are never in the best
interest of children and must be avoided.10 I strongly agree.

There are well-known and effective programs to protect families and children, allow them to exercise their rights under
U.S. and international law, and ensure that they abide by U.S. legal processes. I urge you to withdraw this proposed rule.



Sincerely,

Caryl Stern

President and CEO, UNICEF USA
125 Maiden Lane
New York, NY 10038
Office: 212.922.2566




7 http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-0483
8 AAP Committee on Psychosocial Aspects of Child and Family Health, Early Childhood Adversity, Toxic Stress, and the Role of the Pediatrician:
Translating Developmental Science into Lifelong Health (2012)
9 See https://www.childwelfare.gov/pubPDFs/brain_development.pdf.
10 Report of the ICE Advisory Committee on Family Residential Centers, October 7, 2016, p. 5.




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 November 6, 2018

 Ms. Debbie Seguin
 Assistant Director
 Office of Policy
 U.S. Immigration and Customs Enforcement
 Department of Homeland Security
 500 12th Street SW
 Washington, DC 20536

 Division of Policy
 Office of the Director
 Office of Refugee Resettlement
 Administration for Children and Families

 Re:    Comments on Proposed Rulemaking Regarding Apprehension, Processing, Care,
        and Custody of Alien Minors and Unaccompanied Alien Children, DHS Docket No.
        ICEB-2018-0002

 For nearly three decades, the Women’s Refugee Commission (WRC) has worked to improve the
 lives and protect the rights of women, children, and youth displaced by conflict and crisis.
 WRC’s work transforms the lives of women, their families, and their communities all around the
 world, including at the southern border of the United States. WRC submits these comments in
 response to the Department of Homeland Security and the Department of Health and Human
 Services’ Proposed Regulations to the Flores Settlement Agreement (the “Proposed
 Regulations”), 83 Fed. Reg. 45,486 (proposed Sept. 7, 2018) (to be codified at 8 C.F.R pts. 212
 and 236, 45 C.F.R. pt. 410), to address their inherent flaws and to demonstrate that they are
 legally flawed in a myriad of ways: they violate international law, as well as United States
 constitutional and statutory law. As WRC has demonstrated for years, there is no humane way to
 detain families, and whenever families or children are in the care custody of the Federal
 Government, safeguards and basic minimum standards must not only be in place but met.


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 Unfortunately, the Government has failed consistently to honor the minimum standards
 governing the conditions of confinement of immigration children since the landmark Flores
 Settlement Agreement (“FSA”) was agreed to in 1997.

 In 2007 and again in 2014, WRC conducted two in-depth studies detailing the inhumane
 conditions for children and families in U.S. detention centers, titled Locking Up Family Values
 and Locking Up Family Values, Again, respectively.1 In both studies—which included tours of
 many (more than 30) and various detention facilities in the United States and interviews with
 facility and Government officials, detained families, and legal and social service providers—
 WRC concluded that large-scale family detention does not comply with basic child welfare
 standards, results in egregious violations of our country’s obligations under international law,
 undercuts individual due process rights, and sets a poor example for the rest of the world. The
 current family detention facilities, which are not licensed and secure, are not in compliance with
 the FSA for the detention of children beyond initial processing times. In this vein, WRC objects
 to the Proposed Regulations as they fail to conform to the FSA’s basic safeguards for children in
 immigration custody. WRC steadfastly maintains that the Government’s ongoing actions with
 respect to the detention of families and children violate the FSA, and advocates for the
 immediate reversal of family detention policies, dismantling of detention facilities, the release of
 families, and the prompt release of children with their accompanying parents or to another
 appropriately vetted adult. Where short-term custody is necessary, conditions must comply with
 basic child welfare standards and efforts for the release of children in compliance with the FSA.

 As discussed in more detail below, the Proposed Regulations undermine the intent behind the
 provisions of the FSA in that they are unconstitutionally vague, ultra vires, overbroad, and
 generally lack enforcement and oversight of the Government’s actions. The comments below are
 organized in the order of the Proposed Regulations, from beginning to end. Each section
 describes the deficiencies we have identified, along with relevant case and statutory citations,
 and concludes with a bulleted list of questions that we assert the Government has not adequately
 addressed and must legitimately address and resolve prior to publishing any final regulations
 relating to these Proposed Regulations. Given the wholesale infirmity of the Proposed
 Regulations, relevant law requires that the Proposed Regulations be withdrawn and a new notice



 1
   Locking Up Family Values, Women’s Commission for Refugee Women and Children &
 Lutheran Immigration and Refugee Service (Feb. 2007),
 https://www.womensrefugeecommission.org/images/zdocs/famdeten.pdf; Locking up Family
 Values, Again, Women’s Refugee Commission & Lutheran Immigration and Refugee Service,
 (Oct. 2014), https://www.womensrefugeecommission.org/resources/document/1085-locking-up-
 family-values-again.

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 and comment period invoked to the extent that the Government seeks to implement regulations
 governing the conditions of confinement for children and families in immigration detention.2



 III. Executive Summary

        A. Purpose of the Regulatory Action & Legal Authority
        83 Fed. Reg. at 45,487-88

 The Proposed Regulations purport to implement the “relevant and substantive terms” of the
 FSA.3 However, the Proposed Regulations are woefully deficient in specifying what these
 provisions are and how the Government determined what portions were relevant and substantive.
 In fact, the Proposed Regulations imperfectly address many Flores provisions and arbitrarily
 refuse to implement all provisions as required by the FSA. This is acknowledged in the Proposed
 Regulations themselves, which concede that they depart from the text of the FSA. For example,
 the licensing requirement in the Proposed Regulations creates an alternative federal licensing
 regime for facilities instead of state agencies specifically because the current facilities are unable
 to meet Flores’ licensing requirements based on child welfare principles.

 Furthermore, the regulations state they take into account “certain changed circumstances”
 without further explanation or examples. Instead, the Government’s Proposed Regulations
 continue to purport that the FSA has been “extended” to apply to accompanied minors and that
 enactment of the Homeland Security Act of 2002 (“HSA”) and the Trafficking Victims
 Protection Act (“TVPRA”) have rendered some of the substantive terms outdated. Notably, these
 mirror the arguments the Government made before Judge Gee in Flores, and they were soundly
 rejected by the Court’s previous Orders. Instead, Judge Gee ruled that the FSA applies to all
 minors, accompanied or otherwise, and that the HSA and TVPRA do not change the
 Government’s obligations. These orders in relevant part have been affirmed by the Ninth Circuit.




 2
   A final rule is lawful only if its differences from the proposed rule are “in character with the
 original proposal” and a “logical outgrowth” of the original notice and comments. Envtl. Def.
 Ctr., Inc. v. EPA, 344 F.3d 832, 851 (9th Cir. 2003) (citation omitted). The text of a final rule,
 therefore, may not be “distant” from that of what an agency initially proposed. Clean Air Council
 v. Pruitt, 862 F.3d 1, 10 (D.C. Cir. 2017); Nat. Res. Def. Council v. EPA, 279 F.3d 1180, 1186
 (9th Cir. 2002).
 3
   For the purposes of these comments only, WRC is using the definitions set forth in the
 Proposed Regulations to avoid confusion.

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 As a result, the Government should withdraw the Proposed Regulations, and if it decides to issue
 new regulations, it must provide the answers to the following questions:

        How did the Government determine what the relevant portions of the FSA are?

        What portions did it determine were not relevant? Why?

        What “changed circumstances” did the Government consider?

        What substantive terms of the FSA does the Government consider outdated? Why?

        Why was the alternative federal licensing scheme necessary? On what evidence was this
        decision based?

        How will the alternative licensing scheme ensure compliance with child welfare
        standards and principles of the FSA?

        Why was the “best interests” standard omitted?

        Why was the least restrictive placement requirement omitted?



        C. Costs and Benefits
        83 Fed. Reg. at 45,488-89

 The Government has outlined an incomplete estimate of costs and benefits for the Proposed
 Regulations, and it has declined to make estimates based on unknown factors, such as the
 number of persons detained, length of stay, etc. Specifically, the Government states that the
 primary source of new costs would be from the proposed alternative licensing process. The
 Government acknowledges the likelihood of increased costs paid by ICE based on the proposed
 changes to parole determinations (see Comments to Section 8 CFR 212.5 – Parole, infra), but
 nevertheless states that it is “unable to provide a quantified estimate of any increased FRC costs”
 relating to this change. 83 Fed. Reg. at 45,488. Independent groups have released detailed
 findings that show that the costs associated with the increased detention that would result from
 the Proposed Regulations (including the annual costs of detention beds and start-up costs of
 acquiring additional family residential centers) could increase costs between $201 million and
 $1.3 billion on an annual basis. See Philip E. Wolgin, The High Costs of the Proposed Flores
 Regulation, Center for American Progress (Oct. 19, 2018),
 https://cdn.americanprogress.org/content/uploads/2018/10/18054603/FloresHighCosts-brief-
 6.pdf. Separately and furthermore, the Proposed Regulations fail to account for the qualitative
 costs of failing to meet child welfare standards.


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 The failure of the Proposed Regulations to truly grapple with the potentially crippling additional
 costs associated with family detention is significant because there is little benefit to be
 recognized. Increased detention costs do not make sense in this context given the high
 compliance rates of children and adults with immigration court (and other) orders relating to
 release by immigration authorities. The Government outlines no cost-saving measures of its
 Proposed Regulations. Instead it only offers amorphous benefits such as implementing the FSA’s
 provisions, terminating the Agreement in turn, and allowing for the purported sound
 administration of the detention and custody of alien minors in a way that violates the FSA.

 The Government should withdraw the Proposed Regulations, and if it decides to issue new
 regulations, it must provide the answers to the following questions:

        What was the full accounting for costs and benefits?

        What are the bottom-line costs and benefits of the regulations?

        On what are these costs based?

        Why were alternatives to detention, such as the Family Case Management Program and
        others, not considered, especially those that are far more cost-effective than detention?

        How are length of stay and number of persons detained calculated?

        How is cost of detention calculated?

        How are costs related to quality of care and compliance with child welfare standards?



 IV. Background and Purpose

        C. Basis and Purpose of Regulatory Action
        83 Fed. Reg. at 45,492-95

 The Proposed Regulations state that the “practical implications” of the FSA, including the lack
 of state licensing for facilities, has effectively prevented the Government from detaining the
 family unit together at an appropriate facility during immigration proceedings. There are
 advantages, the Government asserts, of maintaining family unity during immigration
 proceedings, such as the best interests of the child. Additionally, the Government arbitrarily
 speculates that without these Proposed Regulations, adults with juveniles will be incentivized to
 continue trying to enter the country illegally.



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 However, the mere fact that the Government is struggling with the “practical implications” of
 compliance with the FSA does not mean that the standards agreed upon by the parties in the FSA
 can be unilaterally changed by the Government through these Proposed Regulations. To the
 contrary, a requirement of the FSA is that “The final regulations shall not be inconsistent with
 the terms of this Agreement.” Flores v. Reno, No. 85-4544-RJK (Px), Stipulated Settlement
 Agreement (C.D. Cal., Jan 17, 1997).

 The Government provides no support for its assertions that the Proposed Regulations will deter
 illegal entry into the country. Immigration experts have warned that the current administration’s
 treatment of immigrant families which the Proposed Regulations will codify and perpetuate are
 ineffective as deterrents to illegal immigration. See, e.g., Adam Isacson & Adeline Hite, August
 Border Statistics Show that Trump’s Policies are Not Deterring Migration, Washington Office
 on Latin America (Sept. 13, 2018), https://www.wola.org/analysis/august-border-statistics-show-
 trumps-policies-not-deterring-migration/; Michael Hiltzik, The truth about ‘zero tolerance’: It
 doesn’t always work and always leads to disaster, Los Angeles Times, June 22, 2018,
 http://www.latimes.com/business/hiltzik/la-fi-hiltzik-zero-tolerance-20180622-story.html; Jeh
 Charles Johnson, Trump’s ‘zero tolerance’ border policy is immoral, un-American — and
 ineffective, Washington Post, June 18, 2018, https://www.washingtonpost.com/opinions/trumps-
 zero-tolerance-border-policy-is-immoral-un-american--and-ineffective/2018/06/18/efc4c514-
 732d-11e8-b4b7-308400242c2e_story.html?utm_term=.d257ad9c7fa8.

 It is deeply troubling that the explicit purpose of the Proposed Regulations, as set forth by the
 Government, is to allow the government to deviate from specific provisions in the Flores
 Settlement Agreement that it has found difficult to implement and to discourage immigration.
 The FSA was focused on establishing procedures and conditions that meet approved and
 established child welfare principles. The Government’s stated purpose demonstrates that the
 Proposed Regulations are in direct contrast to the FSA’s intent and, thus, cannot be interpreted as
 a good faith attempt to be consistent with the FSA’s provisions that go straight to the heart of
 ensuring child welfare.



 V. Discussion of Elements of the Proposed Rule

        A. DHS Regulations

                8 CFR 212.5 – Parole
                83 Fed. Reg. at 45,495, 45,524

 There are two categories of changes that DHS proposed with respect to this parole provision.
 First, DHS proposes revisions to the persons to whom a minor may be released. As currently


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 written, a juvenile in custody may be released to a “relative (brother, sister, aunt, uncle, or
 grandparent) not in [] detention who is willing to sponsor a minor,” and such a release can be had
 even if there is a relative of the minor in detention. DHS proposes to limit the persons to whom a
 “minor” may be released to “a parent or legal guardian not in detention” or, alternatively, “an
 accompanying parent or legal guardian who is in detention.” DHS’ proposal wholly removes the
 existing subsection, 8 CFR 212.5(b)(iii) that allowed a minor to identify and “on a case by-case
 basis” be released with a “non-relative in detention who accompanied him or her on arrival.”
 DHS asserts that these changes are merely to align with the statutory authority, which provides
 DHS may only release a minor on parole to the custody of a parent or legal guardian. However,
 that approach undermines completely the negotiated settlement in Flores and is against all
 existing best standards for children’s welfare.

 The Proposed Regulations should be withdrawn. To the extent they are not or are proposed
 anew, the Government must answer the following questions:

        Under these revisions, can a minor be released to a parent or legal guardian not in
        detention even if the minor is an accompanied minor? If this is the intention, then why
        not follow the requirement in the FSA that a minor could be released to a non-custodial
        parent or legal guardian “notwithstanding that the [minor] has a [parent or legal guardian]
        who is in detention”? If this is not the intention, why is this limitation being imposed?

        Under these revisions, what happens where a minor is accompanied by a “relative,”
        “brother,” “sister,” “aunt,” “uncle,” “or grandparent” who has not been formally
        appointed as the minor’s “legal guardian”?

        Does the Government believe there is a practical way a “relative,” “brother,” “sister,”
        “aunt,” “uncle,” “or grandparent” can be formally appointed as the minor’s “legal
        guardian” such that minors may still be released on parole where otherwise authorized?
        What if the “relative,” “brother,” “sister,” “aunt,” “uncle,” “or grandparent” is also in
        detention? Does the Government anticipate that this language change will create a
        logistical barrier to the parole release of minors?

        What has been DHS’ practice in determining release with or to a “relative,” “brother,”
        “sister,” “aunt,” “uncle,” “or grandparent”? How many minors were released on parole to
        a “relative,” “brother,” “sister,” “aunt,” “uncle,” “or grandparent” who had not been
        formally appointed as the minor’s “legal guardian” in the past year?

        What happens when a parent or legal guardian cannot be located for the minor?

        How does the Government believe these proposed changes limiting the ability of a minor
        to be released from detention comport with the spirit of the FSA?

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 Second, DHS proposes to limit the minors to whom the parole provision applies. As currently
 written, 212.5(b) provides that parole of juveniles who have been detained under 235.3(b) or
 235.3(c) would be justified on a case-by-case basis for “urgent humanitarian reasons” or
 “significant public benefit.” DHS proposes that 235.3(c) be removed from this section altogether.
 Accordingly, minors who are being detained in an expedited removal hearing (which only
 applies to accompanied minors) would be stripped of the ability to be paroled for an “urgent
 humanitarian reason” or a “significant public benefit” and would then instead face the strict
 standards of parole applied to adults in expedited removal proceedings. DHS suggests that the
 imposition of these stricter standards is the goal of the revision, stating that “[t]he current cross-
 reference to section 235.3(b) is confusing . . . because it suggests that the more flexible standard
 in section 212.5(b) might override [the provisions in 235.3(b)] when a minor is in expedited
 removal.” 83 Fed. Reg. at 45,495. Initially, we note that there is nothing confusing about the
 current standard, and it is supported by best practices in standards governing child welfare. The
 proposed changes are arbitrary and capricious as they seek to circumvent international and U.S.
 law requirements that strongly prefer the least restrictive standard of confinement for children in
 immigration custody.

 The Proposed Regulations should be withdrawn, and to the extent any regulations are proposed
 anew, the Government must answer the following questions about its approach:

        How large was the population of minors who were in detention under 235.3(c) and who
        were released on parole under 212.5(b) on a yearly basis for the past five years?

        Why is section 212.5(b) inappropriate for minors in removal under 235.3(c)? Why should
        accompanied minors not be permitted to be paroled on a case-by-case basis for an “urgent
        humanitarian reason” or a “significant public benefit”?



                8 CFR 236.3(b) – Definitions
                83 Fed. Reg. at 45,495-97, 45,525

                        Emergency and Influx

 The Proposed Regulations vastly expand the FSA’s definition of “emergency” and “influx,” the
 results of which will be weakened protections for minors. Under the Proposed Regulations,
 “emergency” would mean “an act or event (including, but not limited to, a natural disaster,
 facility fire, civil disturbance, or medical or public health concerns at one or more facilities) that
 prevents timely transport or placement of minors, or impacts other conditions provided by this
 section.” 83 Fed. Reg. at 45,525 (emphasis added). “Influx” would be defined as “a situation in
 which there are, at any given time, more than 130 minors or UACs eligible for placement in a


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 licensed facility under this section or corresponding provisions of ORR regulations, including
 those who have been so placed or are awaiting such placement.” Id. These proposed definitions
 could, and will almost certainly under this federal administration, be interpreted so broadly as to
 indefinitely suspend basic needs and standards for care of children and families in detention.
 Indeed, the Proposed Regulations provide an example of the type of requirement that might be
 waivable under this new, overly broad definition of “emergency;” namely, a meal or snack for a
 minor. See 83 Fed. Reg. at 45,496. Moreover, DHS is currently required by the TVPRA to
 transfer UAC’s to ORR within 72 hours of determining that the child is a UAC and other minors
 within three to five days. 8 U.S.C. § 1232(b)(3) (2008). The demographics of arrivals at the
 southern border have changed drastically since the FSA. The number of child arrivals has
 increased over the years. It is no longer reasonable to consider 130 children to be an influx.
 Facilities, capacity, and norms have moved well beyond this number. Furthermore, these broad
 “emergency” and “influx” definitions will make longer stays more common and mean that
 detained children may not be provided with basic necessities, such as meals, or at the frequency
 that is developmentally recommended/necessary.

 Particularly concerning is the fact that even without invoking “emergencies,” CBP custody is
 often grossly negligent towards children and those in its custody. See University of Chicago Law
 School - International Human Rights Clinic, Neglect and Abuse of Unaccompanied Immigrant
 Children by U.S. Customs and Border Protection (2018),
 https://chicagounbound.uchicago.edu/ihrc/1. Implementation of this rule would take away the
 ability to monitor or check the decision whether to deem a situation as an emergency as well as
 the conditions that would result from such a determination.

 The suspension of protections for minors embedded in these definitions requires DHS to
 withdraw the Proposed Regulations. To the extent they are not or are proposed anew, the
 Government must respond to the following questions and comments:

        Provide the basis for which it arrived at these definitions that deviate greatly from those
        set forth in the FSA. As they currently stand, these proposed definitions provide for broad
        “emergency” loopholes for not meeting the standards of care set forth in the FSA.

        Who will review the determination of “emergency” or “influx”?

        Is there a maximum amount of time for any “emergency” to last?

        What would the consequence be—if any—for invoking the emergency when
        unwarranted?




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        What is the current average daily number of UACs awaiting placement in a licensed ORR
        facility? What has the average number of UAC awaiting placement in a licensed ORR
        facility been for each of the past five years?

                        Licensed Facility

 The Proposed Regulations create a federal licensing scheme for family facilities. The Proposed
 Regulations define “licensed facility” in a way that would enable DHS to select an auditor for its
 own family detention facilities, effectively allowing DHS to license itself and hold minors for the
 duration of their immigration cases. The Proposed Regulations include a provision in the
 definition of “licensed facility” that says, “[i]f a licensing scheme for the detention of minors
 accompanied by a parent or legal guardian is not available in the state, county, or municipality in
 which an ICE detention facility is located, DHS shall employ an entity outside of DHS that has
 relevant audit experience to ensure compliance with the family residential standards established
 by ICE.” 83 Fed. Reg. at 45,525 (emphasis added).

 Implementation of this section could and would result in the prolonged detention of children in
 family detention centers. If DHS can license itself, it can also indefinitely detain children in these
 facilities. WRC and numerous other organizations, including the American Academy of
 Pediatrics and ICE’s own Advisory Committee on Family Residential Centers have long
 documented the harm of family detention, even for short periods of time. See, e.g., Locking Up
 Family Values, Women’s Commission for Refugee Women and Children & Lutheran
 Immigration and Refugee Service (Feb. 2007),
 https://www.womensrefugeecommission.org/images/zdocs/famdeten.pdf; Julie M. Linton et al.,
 Detention of Immigrant Children, 139 Pediatrics (Mar. 13, 2017),
 http://pediatrics.aappublications.org/content/139/5/e20170483; and Report of the ICE Advisory
 Committee on Family Residential Centers (Oct. 7, 2016),
 https://www.ice.gov/sites/default/files/documents/Report/2016/acfrc-report-final-102016.pdf.
 These reports document the trauma and harm of family detention, including the absence of
 meaningful mental health and medical care in these facilities.

 Moreover, neither the family residential standards nor a DHS-chosen entity to oversee
 compliance with these standards is the same as licensing in a state licensing scheme. “The
 purpose of the licensing provision is to provide class members the essential protection of regular
 and comprehensive oversight by an independent child welfare agency.” See Flores v. Johnson,
 212 F. Supp. 3d 864, 879 (C.D. Cal. 2015). In 2015, the Flores Court rejected the Government’s
 argument that the licensing provision did not apply to family residential centers because there
 was no state licensing process available for facilities that held children in custody along with
 their parents or guardians. This proposed section of the regulations ignores these prior court
 orders by offering modifications previously rejected by the Flores Court in 2015.


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 For the reasons above, the Proposed Regulations should be withdrawn. Before they are proposed
 again, DHS must provide answers to the following questions:

        What is the legal basis for DHS to select an entity to monitor its own compliance with
        family residential standards? From where does this authority derive?

        What criteria would be used to select these outside entities?

        Who would these outside entities be?

        Would these outside entities have the legal authority to facilitate or recommend the
        opening of additional family detention facilities beyond the ones that currently exist? Or,
        conversely, would these outside entities have the legal authority to shut down facilities
        that are out of compliance? And who would audit their oversight?

        How would the independence and integrity of such an entity be guaranteed, especially
        considering the failure of DHS’s current oversight mechanisms to ensure compliance
        with standards and child welfare norms?

 Recently, DHS’s Office of Inspector General (“OIG”) found ICE’s internal (Office of Detention
 Oversight) and external inspections regime in the context of adult detention to be woefully
 inadequate. See Office of Inspector General, OIG-18-67, ICE’s Inspections and Monitoring of
 Detention Facilities Do Not Lead to Sustained Compliance or Systemic Improvements (2018),
 https://www.oig.dhs.gov/sites/default/files/assets/2018-06/OIG-18-67-Jun18.pdf. In this
 instance, ICE was employing an independent contractor, Nakamoto, to conduct its inspections.
 Id. The OIG found the Nakamoto inspection practices “not consistently thorough.” Id. The OIG
 also found a lack of integrity in these inspections, particularly with respect to how Nakamoto
 conducted its detainee interviews and instances where ICE refused to implement or enforce
 compliance with detention standards. One ICE employee even described Nakamoto inspections
 as “very, very, very difficult to fail.” Id. Given OIG’s recent findings and the frequency of repeat
 deficiencies in the same facilities, DHS must withdraw the Proposed Regulations. To the extent
 they are not or are again proposed, the Government must answer the following questions:

        Describe steps it will take to ensure the findings in OIG’s report do not repeat themselves
        with respect to family residential inspections performed by third-party auditors.

        Confirm whether Nakamoto will participate or be considered as an “entity outside of
        DHS that has relevant audit experience.”




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        Confirm whether any independent contractor OIG identified as having insufficient
        inspection practices will serve as a third-party auditor to ensure compliance with family
        residential standards and whether OIG would have oversight over the external auditor(s).

        Identify how independent oversight and compliance with standards would be ensured
        when the oversight agency is contracted by DHS itself.



                8 CFR 236.3(d) – Determining whether alien is a UAC
                83 Fed. Reg. at 45,497, 45,525-26

 The Proposed Regulations provide that even after an initial determination that a child is a UAC,
 immigration officers must redetermine whether someone is a UAC “each time” they encounter
 the child. The Proposed Regulations do not define “each time” and thus this provision is subject
 to great abuse. The Proposed Regulations further state that even though a child “may have been
 previously determined to be a UAC, [he or she] may no longer meet the definition if [he or she]
 reaches the age of 18, acquires legal status, or if a parent or legal guardian is available in the
 United States to provide care and physical custody. Once [a child] no longer meets the definition
 of a UAC, the legal protections afforded only to UACs under the law cease to apply.” 83 Fed.
 Reg. at 45,497.

 The Proposed Regulations also propose age determination decisions to be based upon the
 “totality of the evidence and circumstances.” 83 Fed. Reg. at 45,525. A fundamental requirement
 for any agency’s regulatory action is to provide definitions and criteria for consistent and
 nonarbitrary decision-making. See, e.g., S. Terminal Corp. v. EPA, 504 F.2d 646, 670 (1st Cir.
 1974) (cautioning against “arbitrary and unequal application”); W. Virginia Pub. Servs. Comm’n
 v. U.S. Dep’t of Energy, 681 F.2d 847, 863 n.75 (D.C. Cir. 1982) (“[A]n exercise of unfettered
 flexibility too often results in ad hoc judgments and arbitrary decisions, both of which are
 counterproductive to the greater regulatory goals of consistency in decisions and reasoned
 guidance upon which affected parties may rely.”). This provision fails to set forth the guidelines
 immigration officers must follow to make these determinations and is utterly silent with respect
 to the level of training and or expertise required to conduct these determinations. This provision
 also fails to explain whether immigration officers will be required to submit recommendations to
 DHS headquarters about whether a child qualifies as a UAC.

 This provision also fails to advance the public interest goal of effective administration of limited
 judicial resources. For example, under the Proposed Regulations, if a child’s placement falls
 through, or the child goes back into the custody of ORR, he or she must then be reclassified as a
 UAC. Or, for a child who was classified as a UAC and began the asylum process with an



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 interview before an asylum officer, upon being stripped of UAC status, the child would then be
 back before an Immigration Judge.

 Furthermore, constant re-evaluation and review with results that drastically affect a child’s
 placement, rights, and access to protection create an unstable environment contrary to the
 intention and spirit of the FSA.

 Given the due process concerns at stake with a child who loses UAC status, as well as both
 economic and judicial resources concerns, DHS should withdraw the Proposed Regulations, and
 to the extent they are proposed again, the Government must address the following questions:

        In an already backlogged system, how would this change advance the goal of effective
        administration of judicial resources?

        What guidelines must immigration officers follow to make UAC determinations? Are
        these guidelines consistent with current child welfare practice, the best interest of the
        child, and the FSA?

        What criteria will make up the “totality of the circumstances” judgment?

        How does re-evaluation and lack of stability affect the individual’s vulnerability and best
        interest?

        How does a change in status affect the individual’s need for any lost benefits or
        procedures?

        What level of training and/or expertise must the immigration officers have to make UAC
        determinations?

        Will immigration officers be required to submit recommendations to DHS headquarters
        concerning their UAC determinations?

        What input do child welfare professionals and ORR have in age determination and age
        determination mechanisms?



                8 CFR 236.3(o) – Monitoring
                83 Fed. Reg. at 45,504, 45,528

 The Proposed Regulations suggest monitoring be performed by two Juvenile Coordinators—one
 for ICE and one for CBP. 83 Fed. Reg. at 45,504. The Proposed Regulations charge these


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 Juvenile Coordinators with “monitoring statistics about UACs and minors who remain in DHS
 custody for longer than 72 hours.” Id. The Proposed Regulations allow the Juvenile Coordinators
 to collect hearing dates for aliens in DHS custody as well as “additional data points should they
 deem it appropriate given operational changes and other considerations.” Id. This provision is
 extremely broad and ill defined. It does not provide meaningful standards necessary to
 implement adoption and ensure independent and meaningful monitoring. See, e.g., Checkosky v.
 SEC, 139 F.3d 221, 226 (D.C. Cir. 1998) (“When an agency utterly fails to provide a standard
 for its decision, it runs afoul of more than one provision of the Administrative Procedure
 Act. . . . [A]n agency’s failure to state its reasoning or to adopt an intelligible decisional
 standard is so glaring that we can declare with confidence that the agency action was arbitrary
 and capricious.”) (internal quotations and citations omitted). To help avoid arbitrary and
 capricious action, DHS must withdraw this standard. If it does not or it proposes it again, the
 Government must answer the following questions:

        What are the additional data points and considerations the Juvenile Coordinators would
        be allowed to collect?

        To whom would the Juvenile Coordinators report this information?

        What are the “operational changes” to which this section refers?

        Who would determine what operational changes would necessitate the collection of
        “additional data” points?

        How would independence and accountability be ensured?

        What record keeping and data collection will be used to track performance, and how will
        those data points be used to ensure compliance?

        Will Juvenile Coordinators be provided with adequate resources and staffing to monitor
        these statistics in a meaningful and ongoing manner?

        Will CBP and ICE be required to provide data to Juvenile Coordinators, respectively, or
        will full, unfettered, and up-to-date access to internal databases, respectively, be
        required?

        What will the hiring process look like for Juvenile Coordinators? What qualifications
        would be required – e.g., some level of experience in each agency, child welfare training,
        or otherwise?




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        Will there be a process by which Juvenile Coordinators can receive information and
        suggestions for additional data points or statistical lines of inquiry?



        B. HHS Regulations

                45 CFR 410 Subpart A – Care and Placement of Unaccompanied Alien
                Children
                83 Fed. Reg. at 45,505, 45,529-30

 This subpart provides for a “fluid” definition of an unaccompanied minor, in which “ORR’s
 determination of whether a particular person is a UAC is an ongoing determination that may
 change based on the facts available to ORR.” 83 Fed. Reg. at 45,505. It further proposes a
 definition for “secure facility,” and states that the Department of Homeland Security will handle
 immigration benefits and enforcement. Id. There are three issues with this subpart, because it is
 1) overbroad in failing to establish concrete guidelines with respect to ORR’s “ongoing
 determination” of UAC qualifications; 2) unconstitutional because it lacks specific standards of
 care and due process protections with respect to deprivation of liberty and right to family in the
 placement of children in “secure facilities”; and 3) vague in that it fails to define implications of
 giving DHS the power to handle immigration benefits and enforcement. These deficiencies
 violate the important principle of clearly defined regulations that pass constitutional muster. See
 generally Chevron U.S.A. Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 865–866 (1984); see
 also Caruso v. Blockbuster-Sony Music Entm’t Ctr. at Waterfront, 193 F.3d 730, 733 (3d Cir.
 1999) (“[G]iving substantive effect to . . . a hopelessly vague regulation . . . disserves the very
 purpose behind the delegation of lawmaking power to administrative agencies.”) (citation
 omitted); Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 525 (1994) (“[A]gency rules should
 be clear and definite so that affected parties will have adequate notice concerning the agency’s
 understanding of the law.”) (Thomas, J., dissenting).

 First, the Government’s proposed language regarding an “ongoing determination” of “UAC”
 gives the Government unchecked power to change and disrupt a UAC’s processing with a mere
 flick of the wrist. To the extent the Proposed Regulations are withdrawn and proposed again, the
 Government should specify the criteria and define what qualifies as “facts available to ORR” that
 could trigger a reevaluation of a minor’s status and how those triggering facts will ensure that
 detained minors are treated with “dignity, respect, and special concern for their particular
 vulnerability,” per the Flores Settlement Agreement. See 83 Fed. Reg. at 45,505. The
 Government must also explain how changes in a determination of unaccompanied status impact
 the affected minor or individual’s vulnerability and whether and how that change affects the
 individual’s need for any lost benefits or procedures.


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 Next, the Government’s proposed definition of “secure facilities” and subsequent discussion
 exceeds the scope of the Government’s power because it fails to define any measures to keep
 families together. Such an oversight is impermissible under federal law. See, e.g., Ms. L. v. U.S.
 Immigration & Customs Enf’t, 310 F. Supp. 3d 1133, 1144 (S.D. Cal. 2018) (“The unfortunate
 reality is that under the present system migrant children are not accounted for with the same
 efficiency and accuracy as property. Certainly, that cannot satisfy the requirements of due
 process.”).

 Finally, as for benefits, the Government’s proposed language does not discuss the implications of
 allowing DHS to handle benefits. For example, the language does not address whether benefits
 will impact a UAC’s immigration proceedings, particularly as the Government is concurrently
 considering proposed changes to the regulations defining the meaning of a “public charge,”
 which is grounds for “inadmissibility” under INA 212 (INA 212(a)(4)). Legislative history of the
 Homeland Security Act supports the concern of allowing the Department of Homeland Security
 to handle certain immigration issues. For example, a 2002 committee hearing expressed concern
 for “placing the immigration services functions into an organization with a paramilitary culture,
 designed to keep out terrorists.” See Role of Immigration in the Department of Homeland
 Security Pursuant to H.R. 5005, the Homeland Security Act of 2002, at 45, Hearing before the
 Subcommittee on Immigration, Border Security, and Claims of the Committee of the Judiciary,
 June 27, 2002. This “[made] absolutely no sense” because, as the hearing noted, “the vast
 majority of people seeking immigration benefits on a day-to-day basis are already in the
 United States . . . [such as] young girls or women, already here, seeking protection from
 traffickers or smugglers . . . [or] unaccompanied minors seeking protection and support.” Id.
 Therefore, should the Proposed Regulations be withdrawn and then proposed again, the
 Government should specify details regarding the processes DHS will use in issuing and
 determining benefits for UACs, including:

        Is there any limit to the ORR’s “ongoing determination” of whether a person qualifies as
        a UAC?

        What specific criteria, or “facts available to ORR,” could trigger a reevaluation of a
        minor’s status as a UAC?

        Will there be any measures in place to ensure communication between siblings and
        family members when minors are placed in “secure facilities”?

        How is placement in a “secure facility” determined?

        How is review of justification and need for secure placement considered?




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        How will the Government ensure that detained minors are treated with “dignity, respect,
        and special concern for their particular vulnerability”? Are there specific guidelines for
        concrete actions?

        How is the determination made to place a minor in a facility versus in foster care? Are
        there certain considerations or categories of minors that fall into either category?

        Does the provision of benefits, or application for the provision of benefits, harm or
        otherwise have any effect on a minor’s case?



                45 CFR 410 Subpart B – Determining the Placement of an Unaccompanied
                Alien Child

                       45 CFR 410.201 – Considerations generally applicable to the
                       placement of a UAC
                       83 Fed. Reg. at 45,505, 45,530-31

 While discussing this section regarding the generally applicable considerations to placement, the
 Government asserts that the Proposed Regulations recognize “the general principles of the FSA
 that while in custody, UACs shall be treated with dignity, respect, and special concern for their
 particular vulnerability” and that this section in particular “generally parallels the FSA
 requirements.” 45 CFR at 45,505. The Government notes that “ORR makes reasonable efforts to
 provide placements in the geographic areas where DHS apprehends the majority of UACs” and
 asserts that it complies with this provision because “ORR maintains the highest number of UAC
 beds in the state of Texas where most UACs are currently apprehended.” Id. The Government
 does not otherwise provide any explanation for its enumeration of the generally applicable
 considerations for UAC placement. Accordingly, the Proposed Regulations are unsupported
 should be withdrawn. To the extent they are not or are again proposed, HHS must answer the
 following questions:

        What specific measures are required and will be taken to ensure respect for the dignity
        and vulnerability of UACs?

        What reasonable efforts will be made for the placement of UACs, including whether
        efforts to place UACs near family members is a factor?

        What is the exact geographic area that will be considered when making placements of
        UACs? On what is this information based?




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                       45 CFR 410.202 – Placement of a UAC in a licensed program
                       83 Fed. Reg. at 45,505, 45,530

 In the context of placement of a UAC, the Proposed Regulations then provide that ORR will
 place UACs into a licensed program “promptly” after the UACs are referred to ORR legal
 custody, except in enumerated circumstances, such as: in the event of an emergency influx;
 where the UAC meets criteria for placement in a secure facility; and as otherwise required by
 court decree or court-approved settlement. However, the Proposed Regulations fail to address the
 agency’s practice that the Flores Court and others have identified fail to comply with relevant
 law, including but not limited to the FSA, and result in moving children “up” to secure facilities
 without any objectively valid documentation or support. Additionally, the Proposed Regulations
 inexplicably do not include the exception in the FSA that allows transfer within five days where
 an individual speaks an “unusual language.”

 The Proposed Regulations, therefore, should be withdrawn. To the extent they are not or are
 again proposed, HHS must answer the following questions:

        Will HHS consider any other exceptions when placing a UAC into a licensed program?

        Will the licensed programs have ongoing standards they must maintain? What are these
        criteria?

        Why was the transfer period exception omitted from the regulations?

        How does HHS define “unusual language”? What constitutes an “unusual language”?



                       45 CFR 410.205 – Applicability of Sec. 410.203 for placement in a
                       secure facility
                       83 Fed. Reg. at 45,506, 45,531

 The Proposed Regulations offer an unclear standard— “appropriate in the circumstances”—for
 placement in a secure facility, but it does not codify TVPRA’s “least restrictive” language. The
 regulations also purport to remove the factor under the FSA of being an escape risk pursuant the
 TVPRA. Finally, the regulations do not include specific examples of behavior or offenses that
 could result in secure detention.




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 Therefore, the Proposed Regulations should be withdrawn. To the extent they are not or are
 proposed again, HHS must answer the following questions:

        How were these criteria selected?

        Will any other criteria be considered?

        How is a secure facility interpreted? How did HHS arrive at these criteria?

        How will any personal information learned about the UACs be stored? What privacy
        protections are available?



                       45 CFR 410.206 – Information for UAC concerning the reasons for his
                       or her placement in a secure or staff secure facility
                       83 Fed. Reg. at 45,506, 45,531

 The Proposed Regulations do not provide clarification of what the “reasonable time” is for
 transferring a UAC to a secured facility. As such, the Proposed Regulations should be withdrawn
 and to the extent they are proposed anew, HHS must answer the following questions before
 implementing the regulations:

        What is the “reasonable time” HHS considers when deciding a transfer?

        How were these criteria determined?



                       45 CFR 410.207 – Custody of a UAC placed pursuant to this subpart
                       83 Fed. Reg. at 45,506, 45,531

 The Proposed Regulations provide that “upon release of an approved sponsor, a UAC is no
 longer in the custody of ORR.” The explicit renunciation of responsibility for a UAC upon
 placement with a sponsor is problematic, particularly given known concerns about child
 trafficking. The omission of any follow-up mechanism creates a grave risk for dignity and
 vulnerability of a UAC who finds himself with an abusive sponsor. The Proposed Regulations
 should be withdrawn, and to the extent they are proposed again, HHS must answer the following
 questions:

        What criteria will HHS consider when releasing a UAC to an approved sponsor?

        What criteria will HHS consider when approving an individual as a sponsor?

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        What protections will HHS take to ensure the UAC is safe with the sponsor, including
        post-placement and release?

        If HHS cites to its 30-day post-release follow-up call and/or its support hotline, do these
        constitute the universe of protections available post-release to children and, if so, how has
        HHS determined that these are sufficient?



                       45 CFR 410.208 – Special needs minors
                       83 Fed. Reg. at 45,506, 45,531

 HHS offers this section without robust discussion and thus in an arbitrary and capricious manner.
 The Proposed Regulations should be withdrawn, and to the extent they are proposed anew, HHS
 must answer the following questions:

        How does HHS define a special needs minor?

        What considerations will HHS account for with respect to a special needs minor?



                       45 CFR 410.209 – Procedures during an emergency or influx
                       83 Fed. Reg. at 45,507, 45,531

 The Proposed Regulations adopt the definition of “emergency” and “influx” from the FSA.
 Additionally, this section of the Proposed Regulations provides that UACs will be placed in a
 licensed program as “expeditiously as possible.” However, the Proposed Regulations do not
 address meaningful and practical issues at play in these scenarios, such as where will the UAC
 be before this placement and what is the maximum timeframe before a UAC can be placed in a
 licensed program. These practical issues are relevant to understanding whether the Proposed
 Regulations comport with the requirements of the FSA.

 The Proposed Regulations should be withdrawn, and to the extent they are proposed anew, HHS
 must answer the following questions:

        How will HHS determine if the “emergency influx” exception applies? What criteria will
        it consider?

        What is the time frame for placing UACs in a new licensed program if these procedures
        are invoked?



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        What criteria or standards apply in an emergency or influx situation? How were these
        developed? What was considered in determining these factors?



                45 CFR 410 Subpart C – Releasing a UAC from ORR Custody
                83 Fed. Reg. at 45,507-08, 45,531-32

 This subpart addresses the policies and procedures to release a UAC from ORR custody to an
 approved sponsor. See 83 Fed. Reg. at 45,507. Proposed 45 CFR 410.301 and 410.302 attempt to
 articulate a policy with respect to 1) when ORR will release a UAC and 2) to which individuals
 or entities ORR will release such UAC. Id. This subpart broadly states that ORR will release a
 UAC to a sponsor without “unnecessary delay” when ORR determines that the continued
 custody of the UAC is not required “either to secure the UAC’s timely appearance before DHS
 or the immigration courts, or to ensure the UAC’s safety or the safety of others.” Id. This subpart
 goes on to propose several general factors that ORR will consider when determining whether a
 potential sponsor is “suitable” to take custody of the applicable UAC. The Proposed Regulations
 as drafted in this subpart are deficient for several reasons, including that the standard for
 releasing UACs and the determination of to which sponsors such UAC may be released are
 overly broad and vague. See, e.g., Chevron, 467 U.S. at 865; Checkosky, 139 F.3d at 226 (“When
 an agency utterly fails to provide a standard for its decision, it runs afoul of more than one
 provision of the Administrative Procedure Act. . . . [A]n agency’s failure to state its reasoning
 or to adopt an intelligible decisional standard is so glaring that we can declare with confidence
 that the agency action was arbitrary and capricious.”) (internal quotations and citation omitted);
 see also Shalala, 512 U.S. at 525 (Thomas, J., dissenting) (“[A]gency rules should be clear and
 definite so that affected parties will have adequate notice concerning the agency’s understanding
 of the law.”).

 The Government’s language in Proposed 45 CFR 410.301 that it will release a UAC to a sponsor
 without “unnecessary delay” is problematic because the Proposed Regulations do not define
 what constitutes unnecessary delay or otherwise provide any standard for ORR to follow when it
 is making such determination. Considering the government’s recent Memorandum of
 Agreement, it appears that the government is causing delay by adding unnecessary restrictions to
 the reunification process that not only delay the process but also discourage children from
 sharing all relevant information with authorities. Backgrounder: ORR and DHS Information-
 Sharing Emphasizes Enforcement Over Child Safety, Women’s Refugee Commission & National
 Immigrant Justice Center (June 6, 2018),
 https://www.womensrefugeecommission.org/rights/gbv/resources/1642-backgrounder-
 memorandum-of-agreement-between-dhs-and-hhs-emphasizes-immigration-enforcement-over-
 child-safety.


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 Similarly, the Proposed Regulations do not provide any details regarding how ORR will
 determine that if a UAC were to be released, they would be at risk of not making a “timely
 appearance before DHS or the immigration courts.” The Proposed Regulations should be
 withdrawn, and to the extent they are proposed anew, HHS must answer the following questions:

        What factors would militate against releasing a UAC due to such risk?

        How are those factors determined?

        Who is responsible for making such determinations?

        Is there a mechanism for mitigating that risk or an opportunity for a minor or sponsor to
        mitigate an identified risk?

        Conversely, how will ORR determine that a UAC’s continued detention will ensure their
        own safety?

        How will ORR ensure that the information children share with their case managers and
        other ORR personnel is used for the children’s best interest and that the children’s
        privacy rights will not be violated (e.g., if this information is shared with DHS)?

 The Proposed Regulations provide no guidance on the standard that ORR will use when making
 such determinations. There is nothing that provides clarity or definitiveness to UACs about the
 process or substance for determining whether the UAC should be released.

 Proposed 45 CFR 410.302 attempts to outline the “process requirements leading to a release of a
 UAC from ORR custody to a sponsor.” 83 Fed. Reg. 45,507. ORR may require a “suitability
 assessment” prior to releasing a UAC to a sponsor that would include a background check,
 investigation of the living conditions and the standard of care a UAC would receive, interviews
 with household members, a home visit and follow-up visits. Id. Furthermore, the Proposed
 Regulation would allow ORR to fingerprint potential sponsors and for background checks to be
 run “on their biometric and biographical data”, which the Government asserts is consistent with
 “child welfare provisions.” Id. Sponsors and other household members would also be subject to
 criminal record checks, including checking national criminal records/databases. While it is, of
 course, imperative that the UAC’s safety is paramount, the process described in this subpart has,
 vis-à-vis the implementation of the FSA, led to undue delay in releasing the UAC from ORR’s
 custody. Even more problematic is that the Proposed Regulations do not provide any mechanism
 for ensuring that the process for determining sponsor suitability isn’t used by ORR (and DHS) to
 improperly arrest potential sponsors for solely administrative violations of law, such as being
 present in the country without valid immigration status. Cf. ORR, Children Entering the United
 States Unaccompanied (2015) at § 2.5.2 (“ORR does not disqualify potential sponsors on the


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 basis of their immigration status”). Proposed 45 CFR 410.302 also includes a statement,
 unsupported by any evidence, that in “many, if not most cases” the UAC has not lived with its
 biological parent for much or a significant portion of the UAC’s life. Id. It is not clear why the
 Proposed Regulations include this naked assertion. The order of preference for releasing UAC’s
 to sponsors provided that the parent or legal guardian of the UAC is the preferred sponsor. By
 asserting that the parent of the UAC may not be the preferred sponsor the Proposed Regulation
 conflicts with the order of preference set forth in the FSA.



                45 CFR 410 Subpart D – What Standards Must Licensed Programs Meet?

                       45 CFR 410.403 – Ensuring that licensed programs are providing
                       services as required by these regulations
                       83 Fed. Reg. at 45,508, 45,533

 The history of the FSA has shown that monitoring and oversight are critical components to
 ensure compliance with the requirements that are being proposed in this regulation. However, the
 Government has not included any monitoring regarding center compliance with licensing
 standards. See 45 CFR 410.403 (“ORR monitors compliance with the terms of this regulation.”).
 By merely identifying ORR as the entity with monitoring authority, the regulation does not
 require monitoring at all, much less set forth the standards by which such compliance would be
 measured, the time intervals at which such compliance would be monitored, or the reporting
 mechanism by which such monitoring could be verified. This issue is compounded by ORR’s
 known monitoring shortfalls, including ORR’s prior monitoring of unaccompanied minor
 facilities in the past being found to be incomplete. See GAO, Unaccompanied Children: HHS
 Can Take Further Actions to Monitor Their Care, GAO-16-180 (Washington, D.C.: February 5,
 2016). The Government Accountability Office expressed concern that ORR’s failure to conduct
 monitoring signifies that “ORR may not be able to identify areas where children’s care is not
 provided in accordance with ORR policies and the agreements with grantees.” Id. ORR’s failure
 to employ an auditor for its PREA monitoring of all 100-plus ORR facilities, due in February
 2019, until the fall of 2018, despite having a three-year period to conduct the audit, demonstrates
 conclusively that ORR must be given requirements and guidelines if any monitoring is to be
 effectively performed.

 Current access for thorough independent monitoring (with private access to speak to children) is
 exclusively given under the FSA. The Proposed Regulations provide no reliable or reasonable
 alternative monitoring process.




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 The Proposed Regulations should be withdrawn, and to the extent they are proposed anew, HHS
 must answer the following questions:

        When setting forth this oversight provision, did HHS consider alternative language that
        would make clear that monitoring was required by ORR, such as “ORR shall monitor
        compliance with the terms of this regulation”? If so, why was mandatory language not
        included?

        When setting forth this oversight provision, did HHS consider mandating a time period
        within which monitoring must be accomplished (e.g., annually, twice a year, every two
        years)? Why was a time period ultimately not included?

        When setting forth this oversight provision, did HHS consider standards and evaluations
        that would be used to ensure compliance? Why are all such provisions absent from this
        proposal?

        Did HHS consider what records ORR should collect, create, and maintain as part of its
        monitoring program? Which were considered and why were they ultimately not included
        in this proposed provision?



                45 CFR 401 Subpart F – Transfer of a UAC
                83 Fed. Reg. at 45,508, 45,533

 This subpart provides that ORR may need to change the placement of a UAC for various
 reasons, including changes in placement availability and fluctuations in a UAC’s immigration
 case. 83 Fed. Reg. at 45,508. However, the rule is unconstitutionally vague because it offers no
 specifications or limitations for how many times the ORR may change the placement of a UAC.
 Under the current language, this means that a UAC can be transferred every day, separated from
 family members, and subject to the traumatic effects of constant displacement. Frequent
 relocation also increases the challenges behind family reunification and identification, tracking
 of UACs, and the ability of children and adults to access counsel, including the network of pro
 bono lawyers around the country who have been trained in representing UACs and their parents.
 See Ms. L., 310 F. Supp. 3d at 1144 (rejecting a system with no “effective … procedure for (1)
 tracking the children after they were separated from their parents”). These unaddressed obstacles
 implicate the Government’s promise to treat UACs with “dignity, respect, and special concern
 for their particular vulnerability,” as per the Flores Settlement Agreement. The Government
 should provide limitations and guidelines for ORR’s ability to change the placement of a UAC,
 as well as clarify the details of how the safety determination will be made to trigger the 24-hour
 notice to the UAC’s attorney.


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 Furthermore, the proposed language in this subpart states that ORR must take “all necessary
 precautions for the protection of UACs during transportation with adults” but does not otherwise
 address protection of UACs during transfer. 83 Fed. Reg. at 45,508. For example, if the transfer
 of UACs occurs without adults, the Government does not specify the relevant precautions.
 Unless the Government can show that minors are never transported without adults, such
 vagueness cannot stand. See generally Chevron, 467 U.S. at 865; see also Shalala, 512 U.S. at
 525 (“By giving substantive effect to such a hopelessly vague regulation, the Court disserves the
 very purpose behind the delegation of lawmaking power to administrative agencies, which is to
 resolve . . . ambiguity in a statutory text.”) (Thomas, J., dissenting) (quotation marks omitted),
 citing Pauley v. BethEnergy Mines, Inc., 501 U.S. 680, 696 (1991). The Proposed Regulations
 should be withdrawn, and to the extent they are proposed anew, HHS must answer the following
 questions:

        Is there a rule or limitation as to how many times the ORR may change the placement of
        a UAC?

        What measures will the Government take to ensure that frequent transfers do not obstruct
        UAC’s communication with counsel or the ability to obtain or retain counsel?

        How is the safety determination made to trigger the 24-hour notice to the UAC’s
        attorney?

        What steps will the Government take to ensure that frequent relocation does not hinder or
        obstruct immigration proceedings?

        How, if at all, does an upcoming hearing or proceeding before an immigration court
        affect transfer determinations?

        Is there any notification of transfer to the minor’s family? What if that family is also in
        custody? What about minor siblings that may also be in custody?

        What specific measures will be taken to ensure that “all necessary precautions for the
        protection of UACs during transportation with adults”? Are there any guidelines to these
        precautions?

        What about the transportation of UACs without adults?

        Under what circumstances are minors transported with adults, and by whom?

        Who is transporting the children?




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             o If a contractor in the main mode of transport, can the Government specify which
               contractors it uses, including their names?

             o How are the drivers who transport the UACs selected and vetted?

             o Are records kept of which drivers transported UACs?

             o Is there a time limit on travel?

             o Are there requirements regarding access to food, water, bathroom stops, rest
               breaks, or other measures during transport of UACs?



             45 CFR 410 Subpart G – Age Determinations
             83 Fed. Reg. at 45,508, 45,533

  The Proposed Regulations take into account “multiple forms of evidence” when determining a
  UACs age, including non-exclusive use of radiographs, and “may involve medical, dental, or
  other appropriate procedures to verify age.” HHS has failed to explain why and how the current
  system, based in science, to determine age needs to be or should be modified. HHS has not set
  forth any advantage in expanding beyond scientifically-based evidence and the obvious
  drawback is the introduction of subjectivity to such determinations.

  The Proposed Regulations should be withdrawn, and to the extent they are proposed anew, HHS
  must answer the following questions before implementing the Proposed Regulations:

         What other evidence will HHS use to determine age?

         Are these evidentiary mechanisms accurate and accepted in medical circles and child
         welfare practice as appropriate and accurate indicators?

         How will HHS preserve and store this information to ensure the individual’s private
         information is kept confidential?

         Will this evidence be shared with the UAC?




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                45 CFR 410 Subpart H – UACs’ Objections to ORR Determinations
                83 Fed. Reg. at 45,508, 45,533

 This subpart is intended to address the process and procedures for UACs objecting to ORR’s
 placement decisions. However, in the Proposed Regulations, HHS intentionally omits processes
 for objecting to ORR placement that are analogous to Paragraphs 24(B) and 24(C) of the FSA.
 Id. By excluding analogous provisions for these paragraphs, the Proposed Regulations materially
 weaken and undermine the FSA despite the requirement to implement the terms of the settlement
 agreement through the regulations. Id. at 45,486; Flores v. Reno, No. 85-4544-RJK (Px),
 Stipulated Settlement Agreement (C.D. Cal., Jan 17, 1997) (“The final regulations shall not be
 inconsistent with the terms of this Agreement.”). The ability for UACs to challenge ORR
 determinations under the Proposed Regulations is significantly weaker than UAC’s rights under
 the Settlement Agreement. The reasoning in this subpart that sovereign immunity would bar the
 right of a UAC to seek judicial review of ORR’s placement decision with respect to such UAC is
 misplaced. Suits against the Government that seek prospective equitable relief are not barred by
 the doctrine of sovereign immunity. See Ex Parte Young, 209 U.S. 123 (1908). The Proposed
 Regulations should be withdrawn, and to the extent they are proposed anew, HHS must answer
 the following questions:

        Is HHS and ORR’s intention to eliminate the right of UACs to commence judicial review
        of ORR’s placement decision with respect to such UAC?

        Is HHS and ORR’s view that UACs would be barred from challenging ORR’s placement
        decision due to sovereign immunity?

        What standard of review would be applicable with respect to judicial review of a UAC’s
        placement?

        Will the Proposed Regulations include any minimum standards for licensed programs as
        set forth in the FSA?

 This subpart also provides that when a UAC is placed in a more “restrictive level of care”, the
 UAC will receive a notice—within a reasonable period of time—explaining the reasons for
 “housing” such UAC in the more restrictive environment (the “Restrictive Housing Notice”).
 Furthermore, ORR will promptly provide each UAC not released with a list of free legal services
 compiled by ORR (unless such a list was previously given to the UAC). Given the unsettled and
 transitory nature of detention and placement in a facility, ORR should provide a list of free legal
 services to every UAC regardless of whether they’ve previously been provided with such a list.
 The Proposed Regulations should be withdrawn, and to the extent they are proposed anew, HHS
 must answer the following questions:



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    What constitutes a reasonable period of time for delivery of the Restrictive Housing
    Notice to the UAC in a language that such UAC understands?

    If the UAC cannot yet read or speaks an uncommon language, what accommodations will
    ORR and HHS make to communicate the contents of the Restrictive Housing Notice?

    Does ORR intend to prevent UACs from challenging the placement decision?

    With respect to the list of free legal services to be provided by ORR to the UAC, why
    does ORR intend to give a list of free legal services to UACs only once?




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